                                        Case:15-03757-jwb                          Doc #:1 Filed: 06/30/15                                Page 1 of 53
B1 (Official Form 1) (04/13)
                                                 United States Bankruptcy Court
                                                WESTERN DISTRICT OF MICHIGAN                                                                                     Voluntary Petition
                                                   GRAND RAPIDS DIVISION
Name of Debtor (if individual, enter Last, First, Middle):                                           Name of Joint Debtor (Spouse) (Last, First, Middle):
Magnan, Wesley Howard                                                                                Magnan, Sandra Christine

All Other Names used by the Debtor in the last 8 years                                               All Other Names used by the Joint Debtor in the last 8 years
(include married, maiden, and trade names):                                                          (include married, maiden, and trade names):




Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more               Last four digits of Soc. Sec. or Individual-Taxpayer I.D. (ITIN)/Complete EIN (if more
than one, state all):     xxx-xx-1333                                                                than one, state all):     xxx-xx-3662
Street Address of Debtor (No. and Street, City, and State):                                          Street Address of Joint Debtor (No. and Street, City, and State):
13887 Gear Rd.                                                                                       13887 Gear Rd.
Bear Lake, MI                                                                                        Bear Lake, MI
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            49614                                                                                           49614
County of Residence or of the Principal Place of Business:                                           County of Residence or of the Principal Place of Business:
Manistee                                                                                             Manistee
Mailing Address of Debtor (if different from street address):                                        Mailing Address of Joint Debtor (if different from street address):
13887 Gear Rd.                                                                                       13887 Gear Rd.
Bear Lake, MI                                                                                        Bear Lake, MI
                                                                          ZIP CODE                                                                                         ZIP CODE
                                                                            49614                                                                                           49614
Location of Principal Assets of Business Debtor (if different from street address above):
                                                                                                                                                                           ZIP CODE


                         Type of Debtor                                         Nature of Business                                    Chapter of Bankruptcy Code Under Which
                      (Form of Organization)                                      (Check one box.)                                       the Petition is Filed (Check one box.)
                         (Check one box.)                                      Health Care Business                               Chapter 7
        Individual (includes Joint Debtors)                                    Single Asset Real Estate as defined                Chapter 9                 Chapter 15 Petition for Recognition
        See Exhibit D on page 2 of this form.                                  in 11 U.S.C. § 101(51B)                                                      of a Foreign Main Proceeding
                                                                                                                                  Chapter 11
        Corporation (includes LLC and LLP)                                     Railroad
                                                                                                                                  Chapter 12                Chapter 15 Petition for Recognition
                                                                               Stockbroker                                                                  of a Foreign Nonmain Proceeding
        Partnership                                                                                                               Chapter 13
                                                                               Commodity Broker
        Other (If debtor is not one of the above entities, check
        this box and state type of entity below.)                              Clearing Bank                                                         Nature of Debts
                                                                               Other                                                                 (Check one box.)
                        Chapter 15 Debtors                                          Tax-Exempt Entity                             Debts are primarily consumer             Debts are primarily
Country of debtor's center of main interests:                                     (Check box, if applicable.)                     debts, defined in 11 U.S.C.              business debts.
                                                                               Debtor is a tax-exempt organization                § 101(8) as "incurred by an
Each country in which a foreign proceeding by, regarding, or                   under title 26 of the United States                individual primarily for a
against debtor is pending:                                                     Code (the Internal Revenue Code).                  personal, family, or house-
                                                                                                                                  hold purpose."
                              Filing Fee (Check one box.)                                            Check one box:                     Chapter 11 Debtors
                                                                                                             Debtor is a small business debtor as defined by 11 U.S.C. § 101(51D).
        Full Filing Fee attached.
                                                                                                             Debtor is not a small business debtor as defined in 11 U.S.C. § 101(51D).
        Filing Fee to be paid in installments (applicable to individuals only). Must attach          Check if:
        signed application for the court's consideration certifying that the debtor is                       Debtor's aggregate noncontigent liquidated debts (excluding debts owed to
        unable to pay fee except in installments. Rule 1006(b). See Official Form 3A.                        insiders or affiliates) are less than $2,490,925 (amount subject to adjustment
                                                                                                             on 4/01/16 and every three years thereafter).
        Filing Fee waiver requested (applicable to chapter 7 individuals only). Must                 Check all applicable boxes:
        attach signed application for the court's consideration. See Official Form 3B.                       A plan is being filed with this petition.
                                                                                                             Acceptances of the plan were solicited prepetition from one or more classes
                                                                                                             of creditors, in accordance with 11 U.S.C. § 1126(b).
 Statistical/Administrative Information                                                                                                                                THIS SPACE IS FOR
                                                                                                                                                                       COURT USE ONLY
      Debtor estimates that funds will be available for distribution to unsecured creditors.
      Debtor estimates that, after any exempt property is excluded and administrative expenses paid,
      there will be no funds available for distribution to unsecured creditors.
 Estimated Number of Creditors

 1-49        50-99        100-199        200-999         1,000-           5,001-           10,001-              25,001-           50,001-         Over
                                                         5,000            10,000           25,000               50,000            100,000         100,000
 Estimated Assets

 $0 to    $50,001 to $100,001 to $500,001                $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000       to $1 million           to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
 Estimated Liabilities

 $0 to   $50,001 to $100,001 to $500,001                 $1,000,001       $10,000,001      $50,000,001          $100,000,001      $500,000,001 More than
 $50,000 $100,000 $500,000      to $1 million            to $10 million   to $50 million   to $100 million      to $500 million   to $1 billion $1 billion
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.6.1, ID 3192877439)
                                      Case:15-03757-jwb                       Doc #:1 Filed: 06/30/15                            Page 2 of 53
B1 (Official Form 1) (04/13)                                                                                                                                                     Page 2
 Voluntary Petition                                                                         Name of Debtor(s):    Wesley Howard Magnan
                                                                                                                  Sandra Christine Magnan
 (This page must be completed and filed in every case.)
                           All Prior Bankruptcy Cases Filed Within Last 8 Years (If more than two, attach additional sheet.)
Location Where Filed:                                                                      Case Number:                                   Date Filed:
 None
Location Where Filed:                                                                      Case Number:                                   Date Filed:


        Pending Bankruptcy Case Filed by any Spouse, Partner or Affiliate of this Debtor                                     (If more than one, attach additional sheet.)
Name of Debtor:                                                                            Case Number:                                   Date Filed:
 None
District:                                                                                  Relationship:                                  Judge:


                                         Exhibit A                                                                                 Exhibit B
 (To be completed if debtor is required to file periodic reports (e.g., forms 10K and                              (To be completed if debtor is an individual
 10Q) with the Securities and Exchange Commission pursuant to Section 13 or 15(d)                                  whose debts are primarily consumer debts.)
 of the Securities Exchange Act of 1934 and is requesting relief under chapter 11.)         I, the attorney for the petitioner named in the foregoing petition, declare that I have
                                                                                            informed the petitioner that [he or she] may proceed under chapter 7, 11, 12, or 13
                                                                                            of title 11, United States Code, and have explained the relief available under each
        Exhibit A is attached and made a part of this petition.                             such chapter. I further certify that I have delivered to the debtor the notice
                                                                                            required by 11 U.S.C. § 342(b).



                                                                                            X     /s/ Dean E. Sheldon III                                            6/19/2015
                                                                                                 Dean E. Sheldon III                                                   Date
                                                                                     Exhibit C
 Does the debtor own or have possession of any property that poses or is alleged to pose a threat of imminent and identifiable harm to public health or safety?
        Yes, and Exhibit C is attached and made a part of this petition.
        No.

                                                                                     Exhibit D
 (To be completed by every individual debtor. If a joint petition is filed, each spouse must complete and attach a separate Exhibit D.)
          Exhibit D, completed and signed by the debtor, is attached and made a part of this petition.

 If this is a joint petition:
              Exhibit D, also completed and signed by the joint debtor, is attached and made a part of this petition.

                                                                   Information Regarding the Debtor - Venue
                                                                          (Check any applicable box.)
        Debtor has been domiciled or has had a residence, principal place of business, or principal assets in this District for 180 days immediately
        preceding the date of this petition or for a longer part of such 180 days than in any other District.

        There is a bankruptcy case concerning debtor's affiliate, general partner, or partnership pending in this District.

        Debtor is a debtor in a foreign proceeding and has its principal place of business or principal assets in the United States in this District, or has no
        principal place of business or assets in the United States but is a defendant in an action or proceeding [in a federal or state court] in this District,
        or the interests of the parties will be served in regard to the relief sought in this District.

                                      Certification by a Debtor Who Resides as a Tenant of Residential Property
                                                               (Check all applicable boxes.)
        Landlord has a judgment against the debtor for possession of debtor's residence. (If box checked, complete the following.)


                                                                                        (Name of landlord that obtained judgment)




                                                                                        (Address of landlord)
        Debtor claims that under applicable nonbankruptcy law, there are circumstances under which the debtor would be permitted to cure the entire
        monetary default that gave rise to the judgment for possession, after the judgment for possession was entered, and

        Debtor has included with this petition the deposit with the court of any rent that would become due during the 30-day period after the filing of the
        petition.

        Debtor certifies that he/she has served the Landlord with this certification. (11 U.S.C. § 362(l)).
Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.6.1, ID 3192877439)
                                      Case:15-03757-jwb                           Doc #:1 Filed: 06/30/15                          Page 3 of 53
B1 (Official Form 1) (04/13)                                                                                                                                                       Page 3
 Voluntary Petition                                                                          Name of Debtor(s):     Wesley Howard Magnan
                                                                                                                    Sandra Christine Magnan
 (This page must be completed and filed in every case)
                                                                                        Signatures
             Signature(s) of Debtor(s) (Individual/Joint)                                                          Signature of a Foreign Representative
 I declare under penalty of perjury that the information provided in this petition is        I declare under penalty of perjury that the information provided in this petition is true
 true and correct.                                                                           and correct, that I am the foreign representative of a debtor in a foreign proceeding,
 [If petitioner is an individual whose debts are primarily consumer debts and has            and that I am authorized to file this petition.
 chosen to file under chapter 7] I am aware that I may proceed under chapter 7,
 11, 12 or 13 of title 11, United States Code, understand the relief available under
                                                                                             (Check only one box.)
 each such chapter, and choose to proceed under chapter 7.
 [If no attorney represents me and no bankruptcy petition preparer signs the                     I request relief in accordance with chapter 15 of title 11, United States Code.
 petition] I have obtained and read the notice required by 11 U.S.C. § 342(b).                   Certified copies of the documents required by 11 U.S.C. § 1515 are attached.

 I request relief in accordance with the chapter of title 11, United States Code,                Pursuant to 11 U.S.C. § 1511, I request relief in accordance with the chapter of
 specified in this petition.                                                                     title 11 specified in this petition. A certified copy of the order granting
                                                                                                 recognition of the foreign main proceeding is attached.


 X     /s/ Wesley Howard Magnan
      Wesley Howard Magnan
                                                                                             X
       /s/ Sandra Christine Magnan                                                               (Signature of Foreign Representative)
 X    Sandra Christine Magnan

                                                                                                 (Printed Name of Foreign Representative)
     Telephone Number (If not represented by attorney)
     6/19/2015
     Date                                                                                        Date
                                Signature of Attorney*                                                  Signature of Non-Attorney Bankruptcy Petition Preparer
                                                                                             I declare under penalty of perjury that: (1) I am a bankruptcy petition preparer as
 X     /s/ Dean E. Sheldon III                                                               defined in 11 U.S.C. § 110; (2) I prepared this document for compensation and
      Dean E. Sheldon III                              Bar No. P58967                        have provided the debtor with a copy of this document and the notices and
                                                                                             information required under 11 U.S.C. §§ 110(b), 110(h), and 342(b); and, (3) if rules
                                                                                             or guidelines have been promulgated pursuant to 11 U.S.C. § 110(h) setting a
 Law Office of Dean E. Sheldon III
                                                                                             maximum fee for services chargeable by bankruptcy petition preparers, I have
 1378 Gold Court                                                                             given the debtor notice of the maximum amount before preparing any document
 Traverse City, MI 49696-9325                                                                for filing for a debtor or accepting any fee from the debtor, as required in that
                                                                                             section. Official Form 19 is attached.


          (231) 932-9388
 Phone No.______________________        (866) 921-3317
                                 Fax No.______________________
                                                                                             Printed Name and title, if any, of Bankruptcy Petition Preparer
     6/19/2015
     Date
 *In a case in which § 707(b)(4)(D) applies, this signature also constitutes a               Social-Security number (If the bankruptcy petition preparer is not an individual,
 certification that the attorney has no knowledge after an inquiry that the                  state the Social-Security number of the officer, principal, responsible person or
 information in the schedules is incorrect.                                                  partner of the bankruptcy petition preparer.) (Required by 11 U.S.C. § 110.)


                Signature of Debtor (Corporation/Partnership)
 I declare under penalty of perjury that the information provided in this petition is
 true and correct, and that I have been authorized to file this petition on behalf of
 the debtor.
                                                                                             Address
 The debtor requests relief in accordance with the chapter of title 11, United States
 Code, specified in this petition.
                                                                                             X
                                                                                                 Date
 X                                                                                           Signature of bankruptcy petiton preparer or officer, principal, responsible person, or
                                                                                             partner whose Social-Security number is provided above.
     Signature of Authorized Individual
                                                                                             Names and Social-Security numbers of all other individuals who prepared or
                                                                                             assisted in preparing this document unless the bankruptcy petition preparer is not
     Printed Name of Authorized Individual                                                   an individual.



     Title of Authorized Individual                                                          If more than one person prepared this document, attach additional sheets
                                                                                             conforming to the appropriate official form for each person.

                                                                                             A bankruptcy petition preparer's failure to comply with the provisions of title 11
     Date                                                                                    and the Federal Rules of Bankruptcy Procedure may result in fines or
                                                                                             imprisonment or both. 11 U.S.C. § 110; 18 U.S.C. § 156.


Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015 (Build 11.2.6.1, ID 3192877439)
                           Case:15-03757-jwb               Doc #:1 Filed: 06/30/15                  Page 4 of 53
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF MICHIGAN
                                                 GRAND RAPIDS DIVISION
In re:   Wesley Howard Magnan                                                            Case No.
         Sandra Christine Magnan                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                           Case:15-03757-jwb               Doc #:1 Filed: 06/30/15               Page 5 of 53
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF MICHIGAN
                                                 GRAND RAPIDS DIVISION
In re:   Wesley Howard Magnan                                                         Case No.
         Sandra Christine Magnan                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Wesley Howard Magnan
                       Wesley Howard Magnan

Date:        6/19/2015
                           Case:15-03757-jwb               Doc #:1 Filed: 06/30/15                  Page 6 of 53
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF MICHIGAN
                                                 GRAND RAPIDS DIVISION
In re:   Wesley Howard Magnan                                                            Case No.
         Sandra Christine Magnan                                                                              (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT


Warning: You must be able to check truthfully one of the five statements regarding credit counseling listed below. If you
cannot do so, you are not eligible to file a bankruptcy case, and the court can dismiss any case you do file. If that happens,
you will lose whatever filing fee you paid, and your creditors will be able to resume collection activities against you. If your
case is dismissed and you file another bankruptcy case later, you may be required to pay a second filing fee and you may
have to take extra steps to stop creditors' collection activities.

Every individual debtor must file this Exhibit D. If a joint petition is filed, each spouse must complete and file a separate Exhibit D.
Check one of the five statements below and attach any documents as directed.


    1. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit counseling
and assisted me in performing a related budget analysis, and I have a certificate from the agency describing the services
provided to me. Attach a copy of the certificate and a copy of any debt repayment plan developed through the agency.

    2. Within the 180 days before the filing of my bankruptcy case, I received a briefing from a credit counseling agency
approved by the United States trustee or bankruptcy administrator that outlined the opportunities for available credit couseling
and assisted me in performing a related budget analysis, but I do not have a certificate from the agency describing the services
provided to me. You must file a copy of a certificate from the agency describing the services provided to you and a copy of any
debt repayment plan developed through the agency no later than 14 days after your bankruptcy case is filed.


     3. I certify that I requested credit counseling services from an approved agency but was unable to obtain the services during
the seven days from the time I made my request, and the following exigent circumstances merit a temporary waiver of the credit
counseling requirement so I can file my bankruptcy case now. [Summarize exigent circumstances here.]




If your certification is satisfactory to the court, you must still obtain the credit counseling briefing within the first 30 days
after you file your bankruptcy petition and promptly file a certificate from the agency that provided the counseling, together
with a copy of any debt management plan developed through the agency. Failure to fulfill these requirements may result in
dismissal of your case. Any extension of the 30-day deadline can be granted only for cause and is limited to a maximum of
15 days. Your case may also be dismissed if the court is not satisfied with your reasons for filing your bankruptcy case
without first receiving a credit counseling briefing.
                           Case:15-03757-jwb               Doc #:1 Filed: 06/30/15               Page 7 of 53
B 1D (Official Form 1, Exhibit D) (12/09)   UNITED STATES BANKRUPTCY COURT
                                             WESTERN DISTRICT OF MICHIGAN
                                                 GRAND RAPIDS DIVISION
In re:   Wesley Howard Magnan                                                         Case No.
         Sandra Christine Magnan                                                                           (if known)

                     Debtor(s)

              EXHIBIT D - INDIVIDUAL DEBTOR'S STATEMENT OF COMPLIANCE WITH
                               CREDIT COUNSELING REQUIREMENT
                                                        Continuation Sheet No. 1



    4. I am not required to receive a credit counseling briefing because of:    [Check the applicable statement.] [Must be
accompanied by a motion for determination by the court.]

              Incapacity. (Defined in 11 U.S.C. § 109(h)(4) as impaired by reason of mental illness or mental deficiency so as to
              be incapable of realizing and making rational decisions with respect to financial responsibilites.);


              Disability. (Defined in 11 U.S.C. § 109(h)(4) as physically impaired to the extent of being unable, after reasonable
              effort, to participate in a credit counseling briefing in person, by telephone, or through the Internet.);


              Active military duty in a military combat zone.

    5. The United States trustee or bankruptcy administrator has determined that the credit counseling requirement of
11 U.S.C. § 109(h) does not apply in this district.


I certify under penalty of perjury that the information provided above is true and correct.


Signature of Debtor:    /s/ Sandra Christine Magnan
                       Sandra Christine Magnan

Date:        6/19/2015
                            Case:15-03757-jwb         Doc #:1 Filed: 06/30/15                            Page 8 of 53
B6A (Official Form 6A) (12/07)



In re Wesley Howard Magnan                                                      Case No.
      Sandra Christine Magnan                                                                                         (if known)



                                          SCHEDULE A - REAL PROPERTY


                                                                                                                   Current Value




                                                                                         Husband, Wife, Joint,
                                                                                                                    of Debtor's
                   Description and                             Nature of Debtor's




                                                                                           or Community
                                                                                                                     Interest in
                     Location of                              Interest in Property
                                                                                                                 Property, Without    Amount Of
                      Property                                                                                                       Secured Claim
                                                                                                                  Deducting Any
                                                                                                                  Secured Claim
                                                                                                                   or Exemption


 8062 Meade, Montague, MI 49437                         fee simple                          J                         $70,000.00        $75,028.65
 1140 sq. ft. home with 3 bedrooms & 2 baths on .24
 acres.

 13887 Gear Rd., Bear Lake, MI 49614                    fee simple                          J                        $160,000.00       $121,817.00
 1450 sq. ft. mobile home with 3 bedrooms, 2 baths,
 a garage, 3 porches on 40 acres.
 Property also includes a 600 sq. ft. guest house
 with 1 bedroom & 1 bath.




                                                                                     Total:                          $230,000.00
                                                                                     (Report also on Summary of Schedules)
                                 Case:15-03757-jwb              Doc #:1 Filed: 06/30/15                Page 9 of 53
B6B (Official Form 6B) (12/07)




In re Wesley Howard Magnan                                                                Case No.
      Sandra Christine Magnan                                                                                (if known)



                                         SCHEDULE B - PERSONAL PROPERTY




                                                                                                                  Husband, Wife, Joint,
                                                                                                                                          Current Value of
                                                                                                                                          Debtor's Interest




                                                                                                                    or Community
                                                                                                                                             in Property,
                                          None                                                                                            Without Deducting
             Type of Property                                   Description and Location of Property                                        any Secured
                                                                                                                                               Claim or
                                                                                                                                              Exemption

1. Cash on hand.                          X

2. Checking, savings or other finan-             Honor Bank                                                             J                         $448.00
cial accounts, certificates of deposit           11926 Chippewa Hwy.
or shares in banks, savings and loan,            Bear Lake, MI 49614
thrift, building and loan, and home-             Checking Acct in the names of Wesley & Sandra Magnan.
stead associations, or credit unions,
brokerage houses, or cooperatives.

3. Security deposits with public util-    X
ities, telephone companies, land-
lords, and others.

4. Household goods and furnishings,              All household goods & furnishings.                                     J                       $1,880.00
including audio, video and computer
equipment.

5. Books; pictures and other art          X
objects; antiques; stamp, coin,
record, tape, compact disc, and other
collections or collectibles.

6. Wearing apparel.                              All clothing                                                           J                         $250.00


7. Furs and jewelry.                             Assorted jewelry                                                       J                         $200.00


8. Firearms and sports, photo-            X
graphic, and other hobby equipment.

9. Interests in insurance policies.       X
Name insurance company of each
policy and itemize surrender or
refund value of each.

10. Annuities. Itemize and name           X
each issuer.
                              Case:15-03757-jwb               Doc #:1 Filed: 06/30/15                Page 10 of 53
B6B (Official Form 6B) (12/07) -- Cont.




In re Wesley Howard Magnan                                                                Case No.
      Sandra Christine Magnan                                                                               (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 1




                                                                                                                 Husband, Wife, Joint,
                                                                                                                                         Current Value of
                                                                                                                                         Debtor's Interest




                                                                                                                   or Community
                                                                                                                                            in Property,
                                           None                                                                                          Without Deducting
             Type of Property                                   Description and Location of Property                                       any Secured
                                                                                                                                              Claim or
                                                                                                                                             Exemption


11. Interests in an education IRA as       X
defined in 26 U.S.C. § 530(b)(1) or
under a qualified State tuition plan
as defined in 26 U.S.C. § 529(b)(1).
Give particulars. (File separately
the record(s) of any such interest(s).
11 U.S.C. § 521(c).)

12. Interests in IRA, ERISA, Keogh,               Detroit Country Day School Defined Contribution Plan                 W                      $20,429.46
or other pension or profit sharing                retirement account in the name of Sandra Magnan.
plans. Give particulars.
                                                  Benzie County Schools pension account in the name of                 W                           $0.00
                                                  Sandra Magnan.


13. Stock and interests in incorpo-               Magnan Enterprises LLC                                               J                       ($100.63)
rated and unincorporated businesses.              13887 Gear Rd.
Itemize.                                          Bear Lake, MI 49614
                                                  Fifth Third Bank checking account in the name of Magnan
                                                  Enterprises LLC


14. Interests in partnerships or joint     X
ventures. Itemize.

15. Government and corporate bonds         X
and other negotiable and non-
negotiable instruments.

16. Accounts receivable.                   X

17. Alimony, maintenance, support,         X
and property settlements to which the
debtor is or may be entitled. Give
particulars.
                              Case:15-03757-jwb                Doc #:1 Filed: 06/30/15               Page 11 of 53
B6B (Official Form 6B) (12/07) -- Cont.




In re Wesley Howard Magnan                                                                Case No.
      Sandra Christine Magnan                                                                               (if known)



                                           SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 2




                                                                                                                 Husband, Wife, Joint,
                                                                                                                                         Current Value of
                                                                                                                                         Debtor's Interest




                                                                                                                   or Community
                                                                                                                                            in Property,
                                            None                                                                                         Without Deducting
             Type of Property                                   Description and Location of Property                                       any Secured
                                                                                                                                              Claim or
                                                                                                                                             Exemption


18. Other liquidated debts owed to          X
debtor including tax refunds. Give
particulars.

19. Equitable or future interests, life            2015 Estimated State & Federal Income Tax Refunds                   J                       $8,500.00
estates, and rights or powers exercis-
able for the benefit of the debtor other
than those listed in Schedule A - Real
Property.

20. Contingent and noncontingent            X
interests in estate of a decedent, death
benefit plan, life insurance policy, or
trust.

21. Other contingent and unliqui-           X
dated claims of every nature,
including tax refunds, counterclaims
of the debtor, and rights to setoff
claims. Give estimated value of each.

22. Patents, copyrights, and other          X
intellectual property. Give
particulars.

23. Licenses, franchises, and other         X
general intangibles. Give particulars.

24. Customer lists or other compilations    X
containing personally identifiable
information (as defined in 11 U.S.C.
§ 101(41A)) provided to the debtor by
individuals in connection with obtaining
a product or service from the debtor
primarily for personal, family, or
household purposes.
                              Case:15-03757-jwb                Doc #:1 Filed: 06/30/15                Page 12 of 53
B6B (Official Form 6B) (12/07) -- Cont.




In re Wesley Howard Magnan                                                                 Case No.
      Sandra Christine Magnan                                                                                   (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                            Continuation Sheet No. 3




                                                                                                                     Husband, Wife, Joint,
                                                                                                                                             Current Value of
                                                                                                                                             Debtor's Interest




                                                                                                                       or Community
                                                                                                                                                in Property,
                                           None                                                                                              Without Deducting
             Type of Property                                    Description and Location of Property                                          any Secured
                                                                                                                                                  Claim or
                                                                                                                                                 Exemption


25. Automobiles, trucks, trailers,                2005 Chevrolet Suburban K-15, 4 door in fair condition.                  J                       $5,926.00
and other vehicles and accessories.               Mileage: 136,500

                                                  2005 Ford Freestyle, 4 door in good condition.                           W                       $2,668.00
                                                  Mileage: 126,000

                                                  1999 Ford Explorer, 2 door in fair condition.                            -                       $1,102.00
                                                  Mileage: 130,000
                                                  This is my son's vehicle. He bought it with wages earned
                                                  from an employer other than debtor and joint debtor. Titled
                                                  in the name of Sandra Magnan, legal title only.

                                                  Camper                                                                   J                       $1,000.00


26. Boats, motors, and accessories.        X

27. Aircraft and accessories.              X

28. Office equipment, furnishings,         X
and supplies.

29. Machinery, fixtures, equipment,               Tractor 1984 Zetor 5211                                                  J                       $6,000.00
and supplies used in business.

30. Inventory.                             X

31. Animals.                               X

32. Crops - growing or harvested.          X
Give particulars.

33. Farming equipment and                  X
implements.

34. Farm supplies, chemicals, and          X
feed.
                              Case:15-03757-jwb                Doc #:1 Filed: 06/30/15                   Page 13 of 53
B6B (Official Form 6B) (12/07) -- Cont.




In re Wesley Howard Magnan                                                                    Case No.
      Sandra Christine Magnan                                                                                        (if known)



                                          SCHEDULE B - PERSONAL PROPERTY
                                                             Continuation Sheet No. 4




                                                                                                                          Husband, Wife, Joint,
                                                                                                                                                  Current Value of
                                                                                                                                                  Debtor's Interest




                                                                                                                            or Community
                                                                                                                                                     in Property,
                                              None                                                                                                Without Deducting
             Type of Property                                    Description and Location of Property                                               any Secured
                                                                                                                                                       Claim or
                                                                                                                                                      Exemption


35. Other personal property of any            X
kind not already listed. Itemize.




                                                                          4           continuation sheets attached   Total >                           $48,302.83
             (Include amounts from any continuation sheets attached. Report total also on Summary of Schedules.)
                                Case:15-03757-jwb                  Doc #:1 Filed: 06/30/15                Page 14 of 53
B6C (Official Form 6C) (4/13)



In re Wesley Howard Magnan                                                                     Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
                Description of Property                                                                                          Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 13887 Gear Rd., Bear Lake, MI 49614                     11 U.S.C. § 522(d)(1)                                 $19,091.50             $160,000.00
 1450 sq. ft. mobile home with 3 bedrooms, 2
 baths, a garage, 3 porches on 40 acres.
 Property also includes a 600 sq. ft. guest house
 with 1 bedroom & 1 bath.

 Honor Bank                                              11 U.S.C. § 522(d)(5)                                    $224.00                 $448.00
 11926 Chippewa Hwy.
 Bear Lake, MI 49614

 Checking Acct in the names of Wesley &
 Sandra Magnan.

 All household goods & furnishings.                      11 U.S.C. § 522(d)(3)                                    $940.00               $1,880.00

 All clothing                                            11 U.S.C. § 522(d)(3)                                    $125.00                 $250.00

 Assorted jewelry                                        11 U.S.C. § 522(d)(4)                                    $100.00                 $200.00

 Magnan Enterprises LLC                                  11 U.S.C. § 522(d)(5)                                       $0.00               ($100.63)
 13887 Gear Rd.
 Bear Lake, MI 49614

 Fifth Third Bank checking account in the name
 of Magnan Enterprises LLC

 2015 Estimated State & Federal Income Tax               11 U.S.C. § 522(d)(5)                                  $3,259.00               $8,500.00
 Refunds




* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                               $23,739.50             $171,177.37
                               Case:15-03757-jwb        Doc #:1 Filed: 06/30/15                Page 15 of 53
B6C (Official Form 6C) (4/13) -- Cont.



In re Wesley Howard Magnan                                                          Case No.
                                                                                                      (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 1


                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property                           Exemption                     Exemption                Exemption



 2005 Chevrolet Suburban K-15, 4 door in fair      11 U.S.C. § 522(d)(2)                           $3,675.00              $5,926.00
 condition.
 Mileage: 136,500                                  11 U.S.C. § 522(d)(5)                           $1,125.50

 Camper                                            11 U.S.C. § 522(d)(5)                            $500.00               $1,000.00

 Tractor 1984 Zetor 5211                           11 U.S.C. § 522(d)(6)                               $0.00              $6,000.00




                                                                                                  $29,040.00            $184,103.37
                                Case:15-03757-jwb                  Doc #:1 Filed: 06/30/15                Page 16 of 53
B6C (Official Form 6C) (4/13)



In re Sandra Christine Magnan                                                                  Case No.
                                                                                                                    (If known)



                                     SCHEDULE C - PROPERTY CLAIMED AS EXEMPT


 Debtor claims the exemptions to which debtor is entitled under:                    Check if debtor claims a homestead exemption that exceeds
 (Check one box)                                                                    $155,675.*
      11 U.S.C. § 522(b)(2)
      11 U.S.C. § 522(b)(3)




                                                                                                                                      Current
                                                                                                                                 Value of Property
                                                              Specify Law Providing Each                Value of Claimed
                Description of Property                                                                                          Without Deducting
                                                                       Exemption                           Exemption
                                                                                                                                     Exemption



 13887 Gear Rd., Bear Lake, MI 49614                     11 U.S.C. § 522(d)(1)                                 $19,091.50             $160,000.00
 1450 sq. ft. mobile home with 3 bedrooms, 2
 baths, a garage, 3 porches on 40 acres.
 Property also includes a 600 sq. ft. guest house
 with 1 bedroom & 1 bath.

 Honor Bank                                              11 U.S.C. § 522(d)(5)                                    $224.00                 $448.00
 11926 Chippewa Hwy.
 Bear Lake, MI 49614

 Checking Acct in the names of Wesley &
 Sandra Magnan.

 All household goods & furnishings.                      11 U.S.C. § 522(d)(3)                                    $940.00               $1,880.00

 All clothing                                            11 U.S.C. § 522(d)(3)                                    $125.00                 $250.00

 Assorted jewelry                                        11 U.S.C. § 522(d)(4)                                    $100.00                 $200.00

 Detroit Country Day School Defined                      11 U.S.C. § 522(d)(12)                                $20,429.46              $20,429.46
 Contribution Plan retirement account in the
 name of Sandra Magnan.

 Benzie County Schools pension account in the            11 U.S.C. § 522(d)(12)                                      $0.00                      $0.00
 name of Sandra Magnan.

 Magnan Enterprises LLC                                  11 U.S.C. § 522(d)(5)                                       $0.00               ($100.63)
 13887 Gear Rd.
 Bear Lake, MI 49614



* Amount subject to adjustment on 4/01/16 and every three years thereafter with respect to cases
commenced on or after the date of adjustment.
                                                                                                               $40,909.96             $183,106.83
                               Case:15-03757-jwb        Doc #:1 Filed: 06/30/15                Page 17 of 53
B6C (Official Form 6C) (4/13) -- Cont.



In re Sandra Christine Magnan                                                       Case No.
                                                                                                      (If known)



                                         SCHEDULE C - PROPERTY CLAIMED AS EXEMPT

                                                      Continuation Sheet No. 1


                                                                                                                        Current
                                                                                                                   Value of Property
                                                       Specify Law Providing Each          Value of Claimed        Without Deducting
              Description of Property                           Exemption                     Exemption                Exemption



 Fifth Third Bank checking account in the name
 of Magnan Enterprises LLC

 2015 Estimated State & Federal Income Tax         11 U.S.C. § 522(d)(5)                           $3,259.00              $8,500.00
 Refunds

 2005 Chevrolet Suburban K-15, 4 door in fair      11 U.S.C. § 522(d)(2)                               $0.00              $5,926.00
 condition.
 Mileage: 136,500                                  11 U.S.C. § 522(d)(5)                           $1,125.50

 2005 Ford Freestyle, 4 door in good condition.    11 U.S.C. § 522(d)(2)                           $2,668.00              $2,668.00
 Mileage: 126,000

 Camper                                            11 U.S.C. § 522(d)(5)                            $500.00               $1,000.00

 Tractor 1984 Zetor 5211                           11 U.S.C. § 522(d)(6)                               $0.00              $6,000.00




                                                                                                  $48,462.46            $207,200.83
                           Case:15-03757-jwb                                               Doc #:1 Filed: 06/30/15                     Page 18 of 53
B6D (Official Form 6D) (12/07)
          In re Wesley Howard Magnan                                                                                        Case No.
                 Sandra Christine Magnan                                                                                                                 (if known)



                               SCHEDULE D - CREDITORS HOLDING SECURED CLAIMS
                              Check this box if debtor has no creditors holding secured claims to report on this Schedule D.




                                                          HUSBAND, WIFE, JOINT,
         CREDITOR'S NAME AND                                                                   DATE CLAIM WAS                                       AMOUNT OF         UNSECURED




                                                                                                                                     UNLIQUIDATED
           MAILING ADDRESS                                                                   INCURRED, NATURE                                         CLAIM           PORTION, IF




                                                                                                                                      CONTINGENT
                                                            OR COMMUNITY
                                               CODEBTOR




                                                                                                                                       DISPUTED
       INCLUDING ZIP CODE AND                                                                   OF LIEN, AND                                         WITHOUT             ANY
         AN ACCOUNT NUMBER                                                                    DESCRIPTION AND                                       DEDUCTING
         (See Instructions Above.)                                                                VALUE OF                                           VALUE OF
                                                                                             PROPERTY SUBJECT                                       COLLATERAL
                                                                                                   TO LIEN
                                                                                  DATE INCURRED:    2004
ACCT #: xxx8141                                                                   NATURE OF LIEN:
                                                                                  Mortgage
Fifth Third Bank                                                                  COLLATERAL:
                                                                                  8062 Meade, Montague, MI 49437                                       $55,017.00
5050 Kingsley Dr.                                             J                   REMARKS:
Cincinnati, OH 45263



                                                                                  VALUE:                               $70,000.00
                                                                                  DATE INCURRED:    2004
ACCT #: xxxxxxx0452                                                               NATURE OF LIEN:
                                                                                  Mortgage
Fifth Third Bank                                                                  COLLATERAL:
                                                                                  8062 Meade, Montague, MI 49437                                       $20,011.65          $5,028.65
P.O. Box 740778                                               J                   REMARKS:
Cincinnati, OH 45274-0778



                                                                                  VALUE:                               $70,000.00
                                                                                  DATE INCURRED:    2012
ACCT #: xxx2293                                                                   NATURE OF LIEN:
                                                                                  Mortgage
Honor State Bank                                                                  COLLATERAL:
                                                                                  13887 Gears Rd., Bear Lake, MI 49614                               $121,817.00
2254 Henry St.                                                J                   REMARKS:
PO Box 67
Honor, MI 49640-0067


                                                                                  VALUE:                              $160,000.00
                                                                                  DATE INCURRED:
ACCT #: xxxxxxxxx                                                                 NATURE OF LIEN:
                                                                                  Loan
Honor State Bank                                                                  COLLATERAL:
                                                                                  Tractor 1984 Zetor 5211                                               $9,150.00          $3,150.00
2254 Henry St.                                                H                   REMARKS:
PO Box 67
Honor, MI 49640-0067


                                                                                  VALUE:                                $6,000.00
                                                                                                            Subtotal (Total of this Page) >            $205,995.65           $8,178.65
                                                                                                           Total (Use only on last page) >             $205,995.65           $8,178.65
________________continuation
       No                    sheets attached                                                                                                        (Report also on   (If applicable,
                                                                                                                                                    Summary of        report also on
                                                                                                                                                    Schedules.)       Statistical
                                                                                                                                                                      Summary of
                                                                                                                                                                      Certain Liabilities
                                                                                                                                                                      and Related
                                                                                                                                                                      Data.)
                              Case:15-03757-jwb                   Doc #:1 Filed: 06/30/15                     Page 19 of 53
B6E (Official Form 6E) (04/13)

In re Wesley Howard Magnan                                                                        Case No.
      Sandra Christine Magnan                                                                                               (If Known)



                    SCHEDULE E - CREDITORS HOLDING UNSECURED PRIORITY CLAIMS

    Check this box if debtor has no creditors holding unsecured priority claims to report on this Schedule E.

TYPES OF PRIORITY CLAIMS                       (Check the appropriate box(es) below if claims in that category are listed on the attached sheets.)

    Domestic Support Obligations
    Claims for domestic support that are owed to or recoverable by a spouse, former spouse, or child of the debtor, or the parent, legal guardian,
    or responsible relative of such a child, or a governmental unit to whom such a domestic support claim has been assigned to the extent
    provided in 11 U.S.C. § 507(a)(1).

    Extensions of credit in an involuntary case
    Claims arising in the ordinary course of the debtor's business or financial affairs after the commencement of the case but before the earlier of
    the appointment of a trustee or the order for relief. 11 U.S.C. § 507(a)(3).

    Wages, salaries, and commissions
    Wages, salaries, and commissions, including vacation, severance, and sick leave pay owing to employees and commissions owing to
    qualifying independent sales representatives up to $12,475* per person earned within 180 days immediately preceding the filing of the original
    petition, or the cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(4).

    Contributions to employee benefit plans
    Money owed to employee benefit plans for services rendered within 180 days immediately preceding the filing of the original petition, or the
    cessation of business, whichever occurred first, to the extent provided in 11 U.S.C. § 507(a)(5).


    Certain farmers and fishermen
    Claims of certain farmers and fishermen, up to $6,150* per farmer or fisherman, against the debtor, as provided in 11 U.S.C. § 507(a)(6).


    Deposits by individuals
    Claims of individuals up to $2,775* for deposits for the purchase, lease or rental of property or services for personal, family, or household use,
    that were not delivered or provided. 11 U.S.C. § 507(a)(7).


    Taxes and Certain Other Debts Owed to Governmental Units
    Taxes, customs duties, and penalties owing to federal, state, and local governmental units as set forth in 11 U.S.C. § 507(a)(8).


    Commitments to Maintain the Capital of an Insured Depository Institution
    Claims based on commitments to the FDIC, RTC, Director of the Office of Thrift Supervision, Comptroller of the Currency, or Board of Governors
    of the Federal Reserve System, or their predecessors or successors, to maintain the capital of an insured depository institution. 11 U.S.C.
    § 507(a)(9).

    Claims for Death or Personal Injury While Debtor Was Intoxicated
    Claims for death or personal injury resulting from the operation of a motor vehicle or vessel while the debtor was intoxicated from using
    alcohol, a drug, or another substance. 11 U.S.C. § 507(a)(10).


    Administrative allowances under 11 U.S.C. Sec. 330
    Claims based on services rendered by the trustee, examiner, professional person, or attorney and by any paraprofessional person employed
    by such person as approved by the court and/or in accordance with 11 U.S.C. §§ 326, 328, 329 and 330.


* Amounts are subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of
adjustment.

________________continuation
       No                    sheets attached
                           Case:15-03757-jwb                                          Doc #:1 Filed: 06/30/15                    Page 20 of 53
B6F (Official Form 6F) (12/07)
  In re Wesley Howard Magnan                                                                                       Case No.
           Sandra Christine Magnan                                                                                                  (if known)



                    SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS
   Check this box if debtor has no creditors holding unsecured claims to report on this Schedule F.




                                                              HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                     DATE CLAIM WAS                                      AMOUNT OF




                                                                                                                                          UNLIQUIDATED
                MAILING ADDRESS                                                                       INCURRED AND                                         CLAIM




                                                                                                                                           CONTINGENT
                                                                OR COMMUNITY
                                                   CODEBTOR




                                                                                                                                            DISPUTED
              INCLUDING ZIP CODE,                                                                  CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                            CLAIM.
             (See instructions above.)                                                           IF CLAIM IS SUBJECT TO
                                                                                                    SETOFF, SO STATE.


ACCT #:                                                                               DATE INCURRED:   December 1, 2012
                                                                                      CONSIDERATION:
Amber Aumiller                                                                        Tenant                                                                 Unknown
8062 Meade Street                                                                     REMARKS:
                                                               W                                                                          X X X
Montague, MI 49437                                                                    potential claims against joint debtor as
                                                                                      landlord.


ACCT #: xxxx-xxxxxx-x1006                                                             DATE INCURRED:   2014
                                                                                      CONSIDERATION:
American Express                                                                      Credit Card                                                            $9,411.00
P.O. Box 981537                                                                       REMARKS:
                                                                H
El Paso, TX 79998-1537                                                                Collection Agency:
                                                                                      GC Services Limited Partnership
                                                                                      PO Box 46960

                                                                                      Saint Louis, MO 63146




ACCT #: xxxx-xxxx-xxxx-7702                                                           DATE INCURRED:   2000
                                                                                      CONSIDERATION:
Bank of America                                                                       Credit Card                                                           $18,191.00
PO Box 982235                                                                         REMARKS:
                                                                H
El Paso, Texas 79998-2235



ACCT #: xxxx-xxxx-xxxx-0220                                                           DATE INCURRED:   2014
                                                                                      CONSIDERATION:
Bank of America                                                                       Credit Card                                                            $9,375.00
PO Box 982238                                                                         REMARKS:
                                                                H
El Paso, TX 79998-2235



ACCT #: xxxx-xxxx-xxxx-9753                                                           DATE INCURRED:   2015
                                                                                      CONSIDERATION:
Capital One                                                                           Credit Card                                                            $2,226.00
PO Box 85520                                                                          REMARKS:
                                                                H
Richmond, VA 23285



                                                                                                                                      Subtotal >             $39,203.00

                                                                                                                        Total >
                                                                          (Use only on last page of the completed Schedule F.)
________________continuation
       1                     sheets attached                  (Report also on Summary of Schedules and, if applicable, on the
                                                                  Statistical Summary of Certain Liabilities and Related Data.)
                             Case:15-03757-jwb                                            Doc #:1 Filed: 06/30/15             Page 21 of 53
B6F (Official Form 6F) (12/07) - Cont.
  In re Wesley Howard Magnan                                                                                       Case No.
           Sandra Christine Magnan                                                                                               (if known)



                     SCHEDULE F - CREDITORS HOLDING UNSECURED NONPRIORITY CLAIMS




                                                                  HUSBAND, WIFE, JOINT,
                CREDITOR'S NAME,                                                                         DATE CLAIM WAS                               AMOUNT OF




                                                                                                                                       UNLIQUIDATED
                MAILING ADDRESS                                                                           INCURRED AND                                  CLAIM




                                                                                                                                        CONTINGENT
                                                                    OR COMMUNITY
                                                       CODEBTOR




                                                                                                                                         DISPUTED
              INCLUDING ZIP CODE,                                                                      CONSIDERATION FOR
            AND ACCOUNT NUMBER                                                                                CLAIM.
             (See instructions above.)                                                               IF CLAIM IS SUBJECT TO
                                                                                                        SETOFF, SO STATE.


ACCT #: xxxx-xxxx-xxxx-0332                                                               DATE INCURRED:   2014
                                                                                          CONSIDERATION:
Chase/Bank One                                                                            Credit Card                                                    $7,717.93
P.O. Box 15298                                                                            REMARKS:
                                                                   W
Wilmington, DE 19850-5298



ACCT #: xxxx-xxxx-xxxx-0000                                                               DATE INCURRED:   2015
                                                                                          CONSIDERATION:
Fifth Third Bank                                                                          Credit Card                                                      $447.88
PO Box 740789                                                                             REMARKS:
                                                                    H
Cincinnati, OH 45274-0789



ACCT #: xxxxxxxxx                                                                         DATE INCURRED:
                                                                                          CONSIDERATION:
Honor State Bank                                                                          Loan                                                           $9,150.00
2254 Henry St.                                                                            REMARKS:
                                                                    H
PO Box 67
Honor, MI 49640-0067

ACCT #: xxxx-xxxx-xxxx-9148                                                               DATE INCURRED:   2014
                                                                                          CONSIDERATION:
Synchrony Bank/Sam's Club                                                                 Credit Card                                                    $2,369.00
PO Box 530942                                                                             REMARKS:
                                                                    H
Atlanta, GA 30353-0942




Sheet no. __________
              1        of __________
                               1     continuation sheets attached to                                                               Subtotal >            $19,684.81
Schedule of Creditors Holding Unsecured Nonpriority Claims
                                                                                                                            Total >                      $58,887.81
                                                                              (Use only on last page of the completed Schedule F.)
                                                                  (Report also on Summary of Schedules and, if applicable, on the
                                                                      Statistical Summary of Certain Liabilities and Related Data.)
                             Case:15-03757-jwb              Doc #:1 Filed: 06/30/15                Page 22 of 53
B6G (Official Form 6G) (12/07)
   In re Wesley Howard Magnan                                                           Case No.
         Sandra Christine Magnan                                                                        (if known)



                     SCHEDULE G - EXECUTORY CONTRACTS AND UNEXPIRED LEASES
Describe all executory contracts of any nature and all unexpired leases of real or personal property. Include any timeshare interests.
State nature of debtor's interest in contract, i.e., "Purchaser," "Agent," etc. State whether debtor is the lessor or lessee of a lease.
Provide the names and complete mailing addresses of all other parties to each lease or contract described. If a minor child is a party to
one of the leases of contracts, state the child's initials and the name and address of the child's parent or guardian, such as "A.B., a
minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112 and Fed. R. Bankr. P. 1007(m).


    Check this box if debtor has no executory contracts or unexpired leases.

                                                                         DESCRIPTION OF CONTRACT OR LEASE AND NATURE OF DEBTOR'S
                                                                         INTEREST. STATE WHETHER LEASE IS FOR NONRESIDENTIAL REAL
            NAME AND MAILING ADDRESS, INCLUDING ZIP CODE,                PROPERTY. STATE CONTRACT NUMBER OF ANY GOVERNMENT
              OF OTHER PARTIES TO LEASE OR CONTRACT.                     CONTRACT.




   Amber Aumiller                                                        Joint debtor is landlord: hold over tenancy created following
   8062 Meade Street                                                     the expiration of written lease from December 1, 2012 to
   Montague, MI 49437                                                    November 30, 2013.
                                                                         Contract to be ASSIGNED
                               Case:15-03757-jwb                   Doc #:1 Filed: 06/30/15                    Page 23 of 53
B6H (Official Form 6H) (12/07)
In re Wesley Howard Magnan                                                                         Case No.
      Sandra Christine Magnan                                                                                              (if known)



                                                        SCHEDULE H - CODEBTORS
Provide the information requested concerning any person or entity, other than a spouse in a joint case, that is also liable on any debts listed by the debtor
in the schedules of creditors. Include all guarantors and co-signers. If the debtor resides or resided in a community property state, commonwealth, or
territory (including Alaska, Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within the eight-
year period immediately preceding the commencement of the case, identify the name of the debtor's spouse and of any former spouse who resides or
resided with the debtor in the community property state, commonwealth, or territory. Include all names used by the nondebtor spouse during the eight
years immediately preceding the commencement of this case. If a minor child is a codebtor or a creditor, state the child's initials and the name and
address of the child's parent or guardian, such as "A.B., a minor child, by John Doe, guardian." Do not disclose the child's name. See, 11 U.S.C. §112
and Fed. R. Bankr. P. 1007(m).

    Check this box if debtor has no codebtors.
                     NAME AND ADDRESS OF CODEBTOR                                                     NAME AND ADDRESS OF CREDITOR
                             Case:15-03757-jwb                 Doc #:1 Filed: 06/30/15                           Page 24 of 53
 Fill in this information to identify your case:
     Debtor 1              Wesley               Howard                 Magnan
                           First Name           Middle Name            Last Name                           Check if this is:
     Debtor 2              Sandra               Christine              Magnan                                   An amended filing
     (Spouse, if filing)   First Name           Middle Name            Last Name
                                                                                                                A supplement showing post-petition
     United States Bankruptcy Court for the:   WESTERN DISTRICT OF MICHIGAN
                                                                                                                chapter 13 income as of the following date:
     Case number
     (if known)
                                                                                                                MM / DD / YYYY

Official Form B 6I
Schedule I: Your Income                                                                                                                              12/13

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally
responsible for supplying correct information. If you are married and not filing jointly, and your spouse is living with you,
include information about your spouse. If you are separated and your spouse is not filing with you, do not include information
about your spouse. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write
your name and case number (if known). Answer every question.

 Part 1:          Describe Employment
1.    Fill in your employment
      information.                                             Debtor 1                                           Debtor 2 or non-filing spouse
      If you have more than one
      job, attach a separate page       Employment status             Employed                                           Employed
      with information about                                          Not employed                                       Not employed
      additional employers.
                                        Occupation             Substitute Teacher                                 Elementary School Teacher
      Include part-time, seasonal,
      or self-employed work.            Employer's name        Edustaff LLC                                       Benzie Central Schools

      Occupation may include            Employer's address     3330 Broadmoor Ave SE                              9222 Homestead Rd.
      student or homemaker, if it                              Number Street                                      Number Street
      applies.
                                                               Suite A




                                                               Grand Rapids                 MI      49512         Benzonia               MI      49616
                                                               City                         State   Zip Code      City                   State   Zip Code

                                        How long employed there?        8 months                                          1 Year


 Part 2:          Give Details About Monthly Income
Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your
non-filing spouse unless you are separated.
If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If
you need more space, attach a separate sheet to this form.

                                                                                            For Debtor 1            For Debtor 2 or
                                                                                                                    non-filing spouse

2.    List monthly gross wages, salary, and commissions (before all             2.                  $433.33               $2,331.33
      payroll deductions). If not paid monthly, calculate what the monthly wage
      would be.

3.    Estimate and list monthly overtime pay.                                      3.   +              $0.00                   $0.00

4.    Calculate gross income. Add line 2 + line 3.                                 4.               $433.33               $2,331.33




Official Form B 6I                                            Schedule I: Your Income                                                                page 1
                                    Case:15-03757-jwb                               Doc #:1 Filed: 06/30/15                                    Page 25 of 53
Debtor 1 Wesley                                Howard                             Magnan                                           Case number (if known)
            First Name                         Middle Name                        Last Name


                                                                                                                      For Debtor 1                 For Debtor 2 or
                                                                                                                                                   non-filing spouse

     Copy line 4 here ...................................................................................................................
                                                                                                                 4.                  $433.33           $2,331.33
5.   List all payroll deductions:
     5a. Tax, Medicare, and Social Security deductions                                                        5a.                $33.58                     $0.00
     5b. Mandatory contributions for retirement plans                                                         5b.                 $0.00                     $0.00
     5c. Voluntary contributions for retirement plans                                                         5c.                 $0.00                     $0.00
     5d. Required repayments of retirement fund loans                                                         5d.                 $0.00                     $0.00
     5e. Insurance                                                                                            5e.                 $0.00                     $0.00
     5f. Domestic support obligations                                                                         5f.                 $0.00                     $0.00
     5g. Union dues                                                                                           5g.                 $0.00                     $0.00
     5h. Other deductions.
          Specify:                                                                                            5h. +                $0.00                    $0.00
6.   Add the payroll deductions.                  Add lines 5a + 5b + 5c + 5d + 5e + 5f +                     6.                 $33.58                     $0.00
     5g + 5h.
7.   Calculate total monthly take-home pay.                          Subtract line 6 from line 4.             7.               $399.75                 $2,331.33
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a                                                 8a.      ($11,301.10)                         $0.00
          business, profession, or farm
            Attach a statement for each property and business showing
            gross receipts, ordinary and necessary business expenses, and
            the total monthly net income.

     8b. Interest and dividends                                                                               8b.                  $0.00                    $0.00
     8c. Family support payments that you, a non-filing spouse, or a                                          8c.                  $0.00                    $0.00
         dependent regularly receive
            Include alimony, spousal support, child support, maintenance,
            divorce settlement, and property settlement.

     8d. Unemployment compensation                                                                            8d.                  $0.00                    $0.00
     8e. Social Security                                                                                      8e.                  $0.00                    $0.00
     8f. Other government assistance that you regularly receive
         Include cash assistance and the value (if known) or any non-
         cash assistance that you receive, such as food stamps
         (benefits under the Supplemental Nutrition Assistance Program)
         or housing subsidies.
         Specify:                                                                                             8f.                  $0.00                    $0.00
     8g. Pension or retirement income                                                                         8g.                  $0.00                    $0.00
     8h. Other monthly income.
         Specify: See continuation sheet                                                                      8h. +         $1,140.00                       $0.00

9.   Add all other income. Add lines 8a + 8b + 8c + 8d + 8e + 8f + 8g + 8h.                                   9.       ($10,161.10)                         $0.00

10. Calculate monthly income. Add line 7 + line 9.                                                            10.        ($9,761.35)           +       $2,331.33       =     ($7,430.02)
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other
    friends or relatives.

     Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

     Specify:                                                                                                                                                  11.     +           $0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly                                                  12.           ($7,430.02)
    income. Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and
    Related Data, if it applies.                                                                                                                                           Combined
                                                                                                                                                                           monthly income
13. Do you expect an increase or decrease within the year after you file this form?
        No.           None.
            Yes. Explain:




Official Form B 6I                                                                Schedule I: Your Income                                                                           page 2
                        Case:15-03757-jwb     Doc #:1 Filed: 06/30/15                 Page 26 of 53
Debtor 1 Wesley                Howard        Magnan                           Case number (if known)
          First Name           Middle Name   Last Name




                                                                     For Debtor 1       For Debtor 2 or
                                                                                        non-filing spouse
8h. Other Monthly Income (details)
     Rental Income - Montague                                              $650.00               $0.00
     Rental Income - Bear Lake                                             $490.00               $0.00

                                                           Totals:       $1,140.00               $0.00




Official Form B 6I                           Schedule I: Your Income                                        page 3
                         Case:15-03757-jwb           Doc #:1 Filed: 06/30/15          Page 27 of 53
Debtor 1 Wesley                     Howard         Magnan                     Case number (if known)
          First Name                Middle Name    Last Name


8a. Attached Statement (Debtor 1)

                                                  Magnan Enterprises LLC

Gross Monthly Income:                                                                                    $6,207.03

Expense                                               Category                               Amount
Business Supplies                                     Business supplies                   $2,740.11
Farm Equipment                                        Business supplies                   $4,324.20
Farm Supplies                                         Product                            $10,443.82
Total Monthly Expenses                                                                                  $17,508.13
Net Monthly Income:                                                                                    ($11,301.10)




Official Form B 6I                                  Schedule I: Your Income                                  page 4
                              Case:15-03757-jwb                   Doc #:1 Filed: 06/30/15                       Page 28 of 53
 Fill in this information to identify your case:
                                                                                                         Check if this is:
     Debtor 1              Wesley                 Howard                 Magnan                              An amended filing
                           First Name             Middle Name            Last Name                           A supplement showing post-petition
                                                                                                             chapter 13 expenses as of the
     Debtor 2              Sandra                 Christine              Magnan
     (Spouse, if filing)   First Name             Middle Name            Last Name                           following date:

     United States Bankruptcy Court for the:    WESTERN DISTRICT OF MICHIGAN                                   MM / DD / YYYY
     Case number                                                                                               A separate filing for Debtor 2 because
     (if known)                                                                                                Debtor 2 maintains a separate household


Official Form B 6J
Schedule J: Your Expenses                                                                                                                         12/13

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying
correct information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your
name and case number (if known). Answer every question.


 Part 1:          Describe Your Household
1.    Is this a joint case?

            No. Go to line 2.
            Yes. Does Debtor 2 live in a separate household?
                     No
                     Yes. Debtor 2 must file a separate Schedule J.

2.    Do you have dependents?                  No
                                               Yes. Fill out this information          Dependent's relationship to    Dependent's      Does dependent
      Do not list Debtor 1 and                                                         Debtor 1 or Debtor 2           age              live with you?
                                               for each dependent...................................
      Debtor 2.                                                                                                                            No
                                                                                  Son                                 17
                                                                                                                                           Yes
      Do not state the
                                                                                                                                           No
      dependents' names.                                                          Daughter                            14
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                  Daughter                            11
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
                                                                                                                                           No
                                                                                                                                           Yes
3.    Do your expenses include                        No
      expenses of people other than                   Yes
      yourself and your dependents?


 Part 2:          Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case
to report expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of
the form and fill in the applicable date.
Include expenses paid for with non-cash government assistance if you know the value of
such assistance and have included it on Schedule I: Your Income (Official Form B 6I.)                                      Your expenses

4.    The rental or home ownership expenses for your residence.                                                      4.                      $905.00
      Include first mortgage payments and any rent for the ground or lot.
      If not included in line 4:

      4a. Real estate taxes                                                                                          4a.

      4b. Property, homeowner's, or renter's insurance                                                               4b.                      $75.00

      4c. Home maintenance, repair, and upkeep expenses                                                              4c.                     $110.00

      4d. Homeowner's association or condominium dues                                                                4d.




 Official Form B 6J                                             Schedule J: Your Expenses                                                         page 1
                              Case:15-03757-jwb              Doc #:1 Filed: 06/30/15            Page 29 of 53
Debtor 1 Wesley                     Howard                  Magnan                      Case number (if known)
            First Name              Middle Name             Last Name


                                                                                                           Your expenses

5.   Additional mortgage payments for your residence, such as home equity loans                      5.

6.   Utilities:

     6a. Electricity, heat, natural gas                                                              6a.                   $250.00
     6b. Water, sewer, garbage collection                                                            6b.

     6c. Telephone, cell phone, Internet, satellite, and                                             6c.                   $250.00
         cable services
     6d. Other. Specify:       Trash Pick-up                                                         6d.                    $25.00
7.   Food and housekeeping supplies                                                                  7.                    $970.00
8.   Childcare and children's education costs                                                        8.

9.   Clothing, laundry, and dry cleaning                                                             9.                     $90.00
10. Personal care products and services                                                              10.                    $70.00
11. Medical and dental expenses                                                                      11.                    $60.00
12. Transportation. Include gas, maintenance, bus or train                                           12.                   $569.00
    fare. Do not include car payments.
13. Entertainment, clubs, recreation, newspapers,                                                    13.                    $35.00
    magazines, and books
14. Charitable contributions and religious donations                                                 14.

15. Insurance.
    Do not include insurance deducted from your pay or included in lines 4 or 20.

     15a.    Life insurance                                                                          15a.

     15b.    Health insurance                                                                        15b.

     15c.    Vehicle insurance                                                                       15c.                  $216.00
     15d.    Other insurance. Specify:                                                               15d.
16. Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
    Specify:                                                                                         16.

17. Installment or lease payments:

     17a.    Car payments for Vehicle 1                                                              17a.

     17b.    Car payments for Vehicle 2                                                              17b.

     17c.    Other. Specify: Second Mortgage                                                         17c.                  $660.00
     17d.    Other. Specify:                                                                         17d.

18. Your payments of alimony, maintenance, and support that you did not report as                    18.
    deducted from your pay on line 5, Schedule I, Your Income (Official Form B 6I).


19. Other payments you make to support others who do not live with you.
    Specify:                                                                                         19.
20. Other real property expenses not included in lines 4 or 5 of this form or on
    Schedule I: Your Income.
     20a.    Mortgages on other property                                                             20a.

     20b.    Real estate taxes                                                                       20b.

     20c.    Property, homeowner's, or renter's insurance                                            20c.

     20d.    Maintenance, repair, and upkeep expenses                                                20d.

     20e.    Homeowner's association or condominium dues                                             20e.

21. Other. Specify: School Lunch Expenses                                                            21.     +              $15.00



 Official Form B 6J                                         Schedule J: Your Expenses                                         page 2
                           Case:15-03757-jwb                 Doc #:1 Filed: 06/30/15                   Page 30 of 53
Debtor 1 Wesley                   Howard                   Magnan                             Case number (if known)
           First Name             Middle Name              Last Name


22. Your monthly expenses. Add lines 4 through 21.
    The result is your monthly expenses.                                                                     22.          $4,300.00
23. Calculate your monthly net income.

    23a.    Copy line 12 (your combined monthly income) from Schedule I.                                     23a.        ($7,430.02)
    23b.    Copy your monthly expenses from line 22 above.                                                   23b.   –     $4,300.00
    23c.    Subtract your monthly expenses from your monthly income.
            The result is your monthly net income.                                                           23c.       ($11,730.02)

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

    For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage
    payment to increase or decrease because of a modification to the terms of your mortgage?

           No.
           Yes. Explain here:
                 None.




 Official Form B 6J                                       Schedule J: Your Expenses                                            page 3
                            Case:15-03757-jwb                  Doc #:1 Filed: 06/30/15          Page 31 of 53
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF MICHIGAN
                                                  GRAND RAPIDS DIVISION
   In re Wesley Howard Magnan                                                        Case No.
         Sandra Christine Magnan
                                                                                     Chapter      7



                                                        SUMMARY OF SCHEDULES
Indicate as to each schedule whether that schedule is attached and state the number of pages in each. Report the totals from
Schedules A, B, D, E, F, I, and J in the boxes provided. Add the amounts from Schedules A and B to determine the total amount of the
debtor's assets. Add the amounts of all claims from Schedules D, E, and F to determine the total amount of the debtor's liabilities.
Individual debtors also must complete the "Statistical Summary of Certain Liabilities and Related Data" if they file a case under
chapter 7, 11, or 13.


                                          ATTACHED NO. OF
 NAME OF SCHEDULE                                                       ASSETS                 LIABILITIES                OTHER
                                           (YES/NO) SHEETS

 A - Real Property                                Yes      1                $230,000.00


 B - Personal Property                            Yes      5                 $48,302.83

 C - Property Claimed                             Yes      4
     as Exempt
 D - Creditors Holding                            Yes      1                                          $205,995.65
     Secured Claims
 E - Creditors Holding Unsecured
     Priority Claims                              Yes      1                                                $0.00
     (Total of Claims on Schedule E)
 F - Creditors Holding Unsecured                  Yes      2                                           $58,887.81
     Nonpriority Claims
 G - Executory Contracts and                      Yes      1
    Unexpired Leases

 H - Codebtors                                    Yes      1


 I - Current Income of                            Yes      4                                                                ($7,430.02)
     Individual Debtor(s)
 J - Current Expenditures of                      Yes      3                                                                 $4,300.00
    Individual Debtor(s)

                                             TOTAL         23               $278,302.83               $264,883.46
                            Case:15-03757-jwb              Doc #:1 Filed: 06/30/15               Page 32 of 53
B 6 Summary (Official Form 6 - Summary) (12/14)
                                             UNITED STATES BANKRUPTCY COURT
                                              WESTERN DISTRICT OF MICHIGAN
                                                  GRAND RAPIDS DIVISION
   In re Wesley Howard Magnan                                                         Case No.
         Sandra Christine Magnan
                                                                                      Chapter       7



     STATISTICAL SUMMARY OF CERTAIN LIABILITIES AND RELATED DATA (28 U.S.C. § 159)
If you are an individual debtor whose debts are primarily consumer debts, as defined in § 101(8) of the Bankruptcy Code (11 U.S.C.
§ 101(8)), filing a case under chapter 7, 11, or 13, you must report all information requested below.

    Check this box if you are an individual debtor whose debts are NOT primarily consumer debts. You are not required to report any
    information here.
This information is for statistical purposes only under 28 U.S.C. § 159.

Summarize the following types of liabilities, as reported in the Schedules, and total them.

 Type of Liability                                                    Amount
 Domestic Support Obligations (from Schedule E)                                    $0.00

 Taxes and Certain Other Debts Owed to Governmental Units                          $0.00
 (from Schedule E)

 Claims for Death or Personal Injury While Debtor Was
                                                                                   $0.00
 Intoxicated (from Schedule E) (whether disputed or undisputed)

 Student Loan Obligations (from Schedule F)                                        $0.00

 Domestic Support, Separation Agreement, and Divorce Decree
                                                                                   $0.00
 Obligations Not Reported on Schedule E

 Obligations to Pension or Profit-Sharing, and Other Similar                       $0.00
 Obligations (from Schedule F)

                                                            TOTAL                  $0.00

State the following:
 Average Income (from Schedule I, Line 12)                                   ($7,430.02)

 Average Expenses (from Schedule J, Line 22)                                   $4,300.00

 Current Monthly Income (from Form 22A-1 Line 11; OR, Form
 22B Line 14; OR, Form 22C-1 Line 14)                                          $1,687.44

State the following:
 1. Total from Schedule D, "UNSECURED PORTION, IF ANY"
 column                                                                                                 $8,178.65

 2. Total from Schedule E, "AMOUNT ENTITLED TO PRIORITY"
 column.                                                                           $0.00

 3. Total from Schedule E, "AMOUNT NOT ENTITLED TO
 PRIORITY, IF ANY" column                                                                                  $0.00

 4. Total from Schedule F                                                                           $58,887.81

 5. Total of non-priority unsecured debt (sum of 1, 3, and 4)                                       $67,066.46
                            Case:15-03757-jwb             Doc #:1 Filed: 06/30/15                 Page 33 of 53
B6 Declaration (Official Form 6 - Declaration) (12/07)
In re Wesley Howard Magnan                                                             Case No.
      Sandra Christine Magnan                                                                                (if known)



                               DECLARATION CONCERNING DEBTOR'S SCHEDULES
                           DECLARATION UNDER PENALTY OF PERJURY BY INDIVIDUAL DEBTOR
    I declare under penalty of perjury that I have read the foregoing summary and schedules, consisting of                 25
sheets, and that they are true and correct to the best of my knowledge, information, and belief.


Date 6/19/2015                                               Signature    /s/ Wesley Howard Magnan
                                                                         Wesley Howard Magnan

Date 6/19/2015                                               Signature     /s/ Sandra Christine Magnan
                                                                          Sandra Christine Magnan
                                                             [If joint case, both spouses must sign.]




Penalty for making a false statement or concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or
both. 18 U.S.C. §§ 152 and 3571.
                               Case:15-03757-jwb                    Doc #:1 Filed: 06/30/15                     Page 34 of 53
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF MICHIGAN
                                                       GRAND RAPIDS DIVISION
   In re:   Wesley Howard Magnan                                                                     Case No.
            Sandra Christine Magnan                                                                                          (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS

       1. Income from employment or operation of business
None
       State the gross amount of income the debtor has received from employment, trade, or profession, or from operation of the debtor's business,
       including part-time activities either as an employee or in independent trade or business, from the beginning of this calendar year to the date this
       case was commenced. State also the gross amounts received during the TWO YEARS immediately preceding this calendar year. (A debtor that
       maintains, or has maintained, financial records on the basis of a fiscal rather than a calendar year may report fiscal year income. Identify the
       beginning and ending dates of the debtor's fiscal year.) If a joint petition is filed, state income for each spouse separately. (Married debtors filing
       under chapter 12 or chapter 13 must state income of both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)
        AMOUNT                      SOURCE
        $12,995.18                  2015 Gross YTD income from employment for Sandra Magnan.

        $26,868.00                  2014 Gross income from employment for Sandra Magnan.

        $53,995.00                  2013 Gross income from employment for Sandra Magnan.

        $1,640.00                   2015 Gross YTD income from employment for Wesley Magnan.

        $490.00                     2014 Gross income from employment for Wesley Magnan.

       2. Income other than from employment or operation of business
None
       State the amount of income received by the debtor other than from employment, trade, profession, or operation of the debtor's business during the
       TWO YEARS immediately preceding the commencement of this case. Give particulars. If a joint petition is filed, state income for each spouse
       separately. (Married debtors filing under chapter 12 or chapter 13 must state income for each spouse whether or not a joint petition is filed,
       unless the spouses are separated and a joint petition is not filed.)
        AMOUNT                      SOURCE
        $2,600.00                   2015 Gross YTD income from rental property.

        $7,800.00                   2014 Gross income from rental property.

        $7,900.00                   2013 Gross income from rental property.

       3. Payments to creditors
       Complete a. or b., as appropriate, and c.
None
       a. Individual or joint debtor(s) with primarily consumer debts: List all payments on loans, installment purchases of goods or services, and other
       debts to any creditor made within 90 DAYS immediately preceding the commencement of this case unless the aggregate value of all property that
       constitutes or is affected by such transfer is less than $600. Indicate with an asterisk (*) any payments that were made to a creditor on account
       of a domestic support obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit
       counseling agency. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                         DATES OF
        NAME AND ADDRESS OF CREDITOR                                     PAYMENTS                AMOUNT PAID             AMOUNT STILL OWING
        Fifth Third Bank                                                 05/02/2015              $1,785.00               $55,017.00
        5050 Kingsley Dr.                                                $595.00
        Cincinnati, OH 45263                                             04/02/2015
                                                                         $595.00
                                                                         03/01/2015
                                                                         $595.00

        Honor State Bank                                                 05/02/2015              $2,718.00               $121,817.00
        2254 Henry St.                                                   $906.00
        PO Box 67                                                        04/02/2015
        Honor, MI 49640-0067                                             $906.00
                                                                         03/01/2015
                                                                         $906.00
                               Case:15-03757-jwb                 Doc #:1 Filed: 06/30/15                    Page 35 of 53
B7 (Official Form 7) (04/13)                  UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF MICHIGAN
                                                     GRAND RAPIDS DIVISION
   In re:   Wesley Howard Magnan                                                                 Case No.
            Sandra Christine Magnan                                                                                     (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                 Continuation Sheet No. 1


None
       b. Debtor whose debts are not primarily consumer debts: List each payment or other transfer to any creditor made within 90 DAYS immediately
       preceding the commencement of the case unless the aggregate value of all property that constitutes or is affected by such transfer is less than
       $6,225*. If the debtor is an individual, indicate with an asterisk (*) any payments that were made to a creditor on account of a domestic support
       obligation or as part of an alternative repayment schedule under a plan by an approved nonprofit budgeting and credit counseling agency.
       (Married debtors filing under chapter 12 or chapter 13 must include payments and other transfers by either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

       * Amount subject to adjustment on 4/01/16, and every three years thereafter with respect to cases commenced on or after the date of adjustment.

                                                                      DATES OF                AMOUNT PAID
                                                                      PAYMENTS/               OR VALUE OF
        NAME AND ADDRESS OF CREDITOR                                  TRANSFERS               TRANSFERS              AMOUNT STILL OWING
        None

None
       c. All debtors: List all payments made within ONE YEAR immediately preceding the commencement of this case to or for the benefit of creditors
       who are or were insiders. (Married debtors filing under chapter 12 or chapter 13 must include payments by either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                                  DATE OF
        AND RELATIONSHIP TO DEBTOR                                    PAYMENT                 AMOUNT PAID            AMOUNT STILL OWING
        None

       4. Suits and administrative proceedings, executions, garnishments and attachments
None
       a. List all suits and administrative proceedings to which the debtor is or was a party within ONE YEAR immediately preceding the filing of this
       bankruptcy case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or
       not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        CAPTION OF SUIT AND                                                           COURT OR AGENCY                STATUS OR
        CASE NUMBER                                   NATURE OF PROCEEDING            AND LOCATION                   DISPOSITION
        None

None
       b. Describe all property that has been attached, garnished or seized under any legal or equitable process within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of
       either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)
        NAME AND ADDRESS OF PERSON FOR WHOSE                                                     DESCRIPTION AND VALUE
        BENEFIT PROPERTY WAS SEIZED                                     DATE OF SEIZURE          OF PROPERTY
        None

       5. Repossessions, foreclosures and returns
None
       List all property that has been repossessed by a creditor, sold at a foreclosure sale, transferred through a deed in lieu of foreclosure or returned
       to the seller, within ONE YEAR immediately preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must
       include information concerning property of either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

                                                                       DATE OF REPOSSESSION,
                                                                       FORECLOSURE SALE,                DESCRIPTION AND VALUE
        NAME AND ADDRESS OF CREDITOR OR SELLER                         TRANSFER OR RETURN               OF PROPERTY
        None

       6. Assignments and receiverships
None
       a. Describe any assignment of property for the benefit of creditors made within 120 DAYS immediately preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include any assignment by either or both spouses whether or not a joint petition
       is filed, unless the spouses are separated and a joint petition is not filed.)
                                                                       DATE OF                          TERMS OF ASSIGNMENT
        NAME AND ADDRESS OF ASSIGNEE                                   ASSIGNMENT                       OR SETTLEMENT
        None
                               Case:15-03757-jwb                  Doc #:1 Filed: 06/30/15                     Page 36 of 53
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF MICHIGAN
                                                      GRAND RAPIDS DIVISION
   In re:   Wesley Howard Magnan                                                                  Case No.
            Sandra Christine Magnan                                                                                       (if known)



                                                STATEMENT OF FINANCIAL AFFAIRS
                                                                  Continuation Sheet No. 2


None
       b. List all property which has been in the hands of a custodian, receiver, or court-appointed official within ONE YEAR immediately preceding the
       commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning property of either or both
       spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                                       NAME AND LOCATION
                                                                       OF COURT, CASE                                     DESCRIPTION AND
        NAME AND ADDRESS OF CUSTODIAN                                  TITLE AND NUMBER  DATE OF ORDER                    VALUE OF PROPERTY
        None

       7. Gifts
None
       List all gifts or charitable contributions made within ONE YEAR immediately preceding the commencement of this case except ordinary and usual
       gifts to family members aggregating less than $200 in value per individual family member and charitable contributions aggregating less than $100
       per recipient. (Married debtors filing under chapter 12 or chapter 13 must include gifts or contributions by either or both spouses whether or not a
       joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF PERSON                                   RELATIONSHIP TO                               DESCRIPTION AND
        OR ORGANIZATION                                              DEBTOR, IF ANY  DATE OF GIFT                  VALUE OF GIFT
        None

       8. Losses
None
       List all losses from fire, theft, other casualty or gambling within ONE YEAR immediately preceding the commencement of this case OR SINCE THE
       COMMENCEMENT OF THIS CASE. (Married debtors filing under chapter 12 or chapter 13 must include losses by either or both spouses whether
       or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                   DESCRIPTION OF CIRCUMSTANCES AND, IF
        DESCRIPTION AND VALUE                      LOSS WAS COVERED IN WHOLE OR IN PART
        OF PROPERTY                                BY INSURANCE, GIVE PARTICULARS                                             DATE OF LOSS
        None

       9. Payments related to debt counseling or bankruptcy
None
       List all payments made or property transferred by or on behalf of the debtor to any persons, including attorneys, for consultation concerning debt
       consolidation, relief under the bankruptcy law or preparation of a petition in bankruptcy within ONE YEAR immediately preceding the
       commencement of this case.

                                                                     DATE OF PAYMENT,
                                                                     NAME OF PAYER IF                 AMOUNT OF MONEY OR DESCRIPTION
        NAME AND ADDRESS OF PAYEE                                    OTHER THAN DEBTOR                AND VALUE OF PROPERTY
        Law Office of Dean E. Sheldon III                            05/06/2015                       $1,535.00
        1378 Gold Court
        Traverse City, MI 49686

        001 Debtorcc, Inc                                            05/02/2015                       $9.95
        378 Summit Avenue.
        Jersey City, NJ 07306

       10. Other transfers
None
       a. List all other property, other than property transferred in the ordinary course of the business or financial affairs of the debtor, transferred
       either absolutely or as security within TWO YEARS immediately preceding the commencement of this case. (Married debtors filing under chapter
       12 or chapter 13 must include transfers by either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a
       joint petition is not filed.)

        NAME AND ADDRESS OF TRANSFEREE,                                                      DESCRIBE PROPERTY TRANSFERRED
        RELATIONSHIP TO DEBTOR                                       DATE                    AND VALUE RECEIVED
        None
                               Case:15-03757-jwb                   Doc #:1 Filed: 06/30/15                     Page 37 of 53
B7 (Official Form 7) (04/13)                   UNITED STATES BANKRUPTCY COURT
                                                  WESTERN DISTRICT OF MICHIGAN
                                                      GRAND RAPIDS DIVISION
   In re:   Wesley Howard Magnan                                                                   Case No.
            Sandra Christine Magnan                                                                                        (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                   Continuation Sheet No. 3



       b. List all property transferred by the debtor within TEN YEARS immediately preceding the commencement of this case to a self-settled trust or
None
       similar device of which the debtor is a beneficiary.

                                                                                              AMOUNT OF MONEY OR DESCRIPTION
        NAME OF TRUST OR OTHER                                        DATE(S) OF              AND VALUE OF PROPERTY OR DEBTOR'S
        DEVICE                                                        TRANSFER(S)             INTEREST IN PROPERTY
        None

       11. Closed financial accounts
None
       List all financial accounts and instruments held in the name of the debtor or for the benefit of the debtor which were closed, sold, or otherwise
       transferred within ONE YEAR immediately preceding the commencement of this case. Include checking, savings, or other financial accounts,
       certificates of deposit, or other instruments; shares and share accounts held in banks, credit unions, pension funds, cooperatives, associations,
       brokerage houses and other financial institutions. (Married debtors filing under chapter 12 or chapter 13 must include information concerning
       accounts or instruments held by or for either or both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint
       petition is not filed.)
                                                                      TYPE OF ACCOUNT, LAST FOUR
                                                                      DIGITS OF ACCOUNT NUMBER,                 AMOUNT AND DATE OF
        NAME AND ADDRESS OF INSTITUTION                               AND AMOUNT OF FINAL BALANCE               SALE OR CLOSING
        Fifth Third Bank                                              Checking Account #9252                    Closed 03/24/2014
        3535 S Airport Hwy.                                                                                     Balance owed.
        Traverse City, MI 49684

        Fifth Third Bank                                              Checking Account #2132                    Closed 03/24/2014
        3535 S Airport Hwy.                                                                                     Amount: $6.58
        Traverse City, MI 49684

        Fifth Third Bank                                              Checking Account #2397                    Closed 03/24/2014
        3535 S Airport Hwy.                                                                                     Amount: $10.03
        Traverse City, MI 49684

        Fifth Third Bank                                              Checking Account #2389                    Closed 03/24/2014
        3535 S Airport Hwy.                                                                                     Amount: $10.03
        Traverse City, MI 49684

       12. Safe deposit boxes
None
       List each safe deposit or other box or depository in which the debtor has or had securities, cash, or other valuables within ONE YEAR immediately
       preceding the commencement of this case. (Married debtors filing under chapter 12 or chapter 13 must include boxes or depositories of either or
       both spouses whether or not a joint petition is filed, unless the spouses are separated and a joint petition is not filed.)

                                                     NAMES AND ADDRESSES OF
        NAME AND ADDRESS OF BANK                     THOSE WITH ACCESS TO                         DESCRIPTION OF             DATE OF TRANSFER OR
        OR OTHER DEPOSITORY                          BOX OR DEPOSITORY                            CONTENTS                   SURRENDER, IF ANY
        None

       13. Setoffs
None
       List all setoffs made by any creditor, including a bank, against a debt or deposit of the debtor within 90 DAYS preceding the commencement of this
       case. (Married debtors filing under chapter 12 or chapter 13 must include information concerning either or both spouses whether or not a joint
       petition is filed, unless the spouses are separated and a joint petition is not filed.)

        NAME AND ADDRESS OF CREDITOR                                  DATE OF SETOFF                            AMOUNT OF SETOFF
        None
                               Case:15-03757-jwb                    Doc #:1 Filed: 06/30/15                    Page 38 of 53
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF MICHIGAN
                                                       GRAND RAPIDS DIVISION
   In re:   Wesley Howard Magnan                                                                    Case No.
            Sandra Christine Magnan                                                                                        (if known)



                                                 STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 4



       14. Property held for another person
None
       List all property owned by another person that the debtor holds or controls.

                                                                       DESCRIPTION AND VALUE
        NAME AND ADDRESS OF OWNER                                      OF PROPERTY                              LOCATION OF PROPERTY
        None

       15. Prior address of debtor
None
       If the debtor has moved within THREE YEARS immediately preceding the commencement of this case, list all premises which the debtor occupied
       during that period and vacated prior to the commencement of this case. If a joint petition is filed, report also any separate address of either
       spouse.

        ADDRESS                                                        NAME USED                                         DATES OF OCCUPANCY
        22160 Hilltop Ct.                                              Sandy, Nick (son), Ellie (daughter) &             08/1999 to
        Beverly Hills, MI 48025                                        Katie (daughter).                                 10/2012

       16. Spouses and Former Spouses
None
       If the debtor resides or resided in a community property state, commonwealth, or territory (including Alaska, Arizona, California, Idaho, Louisiana,
       Nevada, New Mexico, Puerto Rico, Texas, Washington, or Wisconsin) within EIGHT YEARS immediately preceding the commencement of the case,
       identify the name of the debtor's spouse and of any former spouse who resides or resided with the debtor in the community property state.
        NAME
        N/A

       17. Environmental Information
       For the purpose of this question, the following definitions apply:

       "Environmental Law" means any federal, state, or local statute or regulation regulating pollution, contamination, releases of hazardous or toxic
       substances, wastes or material into the air, land, soil, surface water, groundwater, or other medium, including, but not limited to, statutes or
       regulations regulating the cleanup of these substances, wastes, or material.

       "Site" means any location, facility, or property as defined under any Environmental Law, whether or not presently or formerly owned or operated
       by the debtor, including, but not limited to, disposal sites.

       "Hazardous Material" means anything defined as a hazardous waste, hazardous substance, toxic substance, hazardous material, pollutant, or
       contaminant or similar term under an Environmental Law.



None a. List the name and address of every site for which the debtor has received notice in writing by a governmental unit that it may be liable or
       potentially liable under or in violation of an Environmental Law. Indicate the governmental unit, the date of the notice, and, if known, the
       Environmental Law:

        SITE NAME                               NAME AND ADDRESS                        DATE OF            ENVIRONMENTAL
        AND ADDRESS                             OF GOVERNMENTAL UNIT                    NOTICE             LAW
        None

None b. List the name and address of every site for which the debtor provided notice to a governmental unit of a release of Hazardous Material.
       Indicate the governmental unit to which the notice was sent and the date of the notice.


        SITE NAME                               NAME AND ADDRESS                        DATE OF            ENVIRONMENTAL
        AND ADDRESS                             OF GOVERNMENTAL UNIT                    NOTICE             LAW

        None
                                Case:15-03757-jwb                   Doc #:1 Filed: 06/30/15                      Page 39 of 53
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF MICHIGAN
                                                       GRAND RAPIDS DIVISION
   In re:   Wesley Howard Magnan                                                                     Case No.
            Sandra Christine Magnan                                                                                           (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 5



None c. List all judicial or administrative proceedings, including settlements or orders, under any Environmental Law with respect to which the debtor is
       or was a party. Indicate the name and address of the governmental unit that is or was a party to the proceeding, and the docket number.

        NAME AND ADDRESS
        OF GOVERNMENTAL UNIT                     DOCKET NUMBER                 STATUS OR DISPOSITION
        None

       18. Nature, location and name of business
None
       a. If the debtor is an individual, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was an officer, director, partner, or managing executive of a corporation, partner in a partnership,
       sole proprietor, or was self-employed in a trade, profession, or other activity either full- or part-time within SIX YEARS immediately preceding the
       commencement of this case, or in which the debtor owned 5 percent or more of the voting or equity securities within SIX YEARS immediately
       preceding the commencement of this case.

       If the debtor is a partnership, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities, within SIX YEARS
       immediately preceding the commencement of this case.

       If the debtor is a corporation, list the names, addresses, taxpayer-identification numbers, nature of the businesses, and beginning and ending
       dates of all businesses in which the debtor was a partner or owned 5 percent or more of the voting or equity securities within SIX YEARS
       immediately preceding the commencement of this case.

        NAME, ADDRESS, AND LAST FOUR DIGITS OF
        SOCIAL-SECURITY OR OTHER INDIVIDUAL                                                                          BEGINNING AND ENDING
        TAXPAYER-I.D. NO. (ITIN) / COMPLETE EIN                       NATURE OF BUSINESS                             DATES

        Magnan Enterprises LLC                                        Farm goods & antiques.                         10/13/2003 to present.
        13887 Gear Rd.
        Bear Lake, MI 49614
        #XX-XXXXXXX

None
       b. Identify any business listed in response to subdivision a., above, that is "single asset real estate" as defined in 11 U.S.C. § 101.

        NAME                                                            ADDRESS

        None

       The following questions are to be completed by every debtor that is a corporation or partnership and by any individual debtor who is or has been,
       within SIX YEARS immediately preceding the commencement of this case, any of the following: an officer, director, managing executive, or owner
       of more than 5 percent of the voting or equity securities of a corporation; a partner, other than a limited partner, of a partnership, a sole proprietor,
       or self-employed in a trade, profession, or other activity, either full- or part-time.

       (An individual or joint debtor should complete this portion of the statement ONLY if the debtor is or has been in business, as defined above, within
       six years immediately preceding the commencement of this case. A debtor who has not been in business within those six years should go
       directly to the signature page.)


       19. Books, records and financial statements
None
       a. List all bookkeepers and accountants who within TWO YEARS immediately preceding the filing of this bankruptcy case kept or supervised the
       keeping of books of account and records of the debtor.

        NAME AND ADDRESS                                                DATES SERVICES RENDERED
        Mary E. Weishaar CPA                                            2014
        Weishaar & Co. CPAs, PC
        PO Box 631
        270 South Benzie Blvd.
        Beulah, MI 49617
                                Case:15-03757-jwb                    Doc #:1 Filed: 06/30/15                      Page 40 of 53
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF MICHIGAN
                                                       GRAND RAPIDS DIVISION
   In re:   Wesley Howard Magnan                                                                      Case No.
            Sandra Christine Magnan                                                                                            (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                     Continuation Sheet No. 6


None
       b. List all firms or individuals who within TWO YEARS immediately preceding the filing of this bankruptcy case have audited the books of account
       and records, or prepared a financial statement of the debtor.

        NAME AND ADDRESS                                                DATES SERVICES RENDERED
        None

None
       c. List all firms or individuals who at the time of the commencement of this case were in possession of the books of account and records of the
       debtor. If any of the books of account and records are not available, explain.

        NAME                                                            ADDRESS
        Dean E Sheldon III                                              1378 Gold Court
        Attorney At Law                                                 Traverse City, MI 49696

None
       d. List all financial institutions, creditors and other parties, including mercantile and trade agencies, to whom a financial statement was issued by
       the debtor within TWO YEARS immediately preceding the commencement of this case.

        NAME AND ADDRESS                                                DATE ISSUED
        None

       20. Inventories
None
       a. List the dates of the last two inventories taken of your property, the name of the person who supervised the taking of each inventory, and the
       dollar amount and basis of each inventory.

                                                                                                      DOLLAR AMOUNT OF INVENTORY
        DATE OF INVENTORY            INVENTORY SUPERVISOR                                             (Specify cost, market or other basis)
                                     None

None
       b. List the name and address of the person having possession of the records of each of the inventories reported in a., above.


        DATE OF INVENTORY            NAME AND ADDRESS OF CUSTODIAN OF INVENTORY RECORDS
                                     None

       21. Current Partners, Officers, Directors and Shareholders
None
       a. If the debtor is a partnership, list the nature and percentage of partnership interest of each member of the partnership.

        NAME AND ADDRESS                                                  NATURE OF INTEREST                            PERCENTAGE OF INTEREST
        None

None
       b. If the debtor is a corporation, list all officers and directors of the corporation, and each stockholder who directly or indirectly owns, controls, or
       holds 5 percent or more of the voting or equity securities of the corporation.

                                                                                                                        NATURE AND PERCENTAGE
        NAME AND ADDRESS                                                  TITLE                                         OF STOCK OWNERSHIP
        None

       22. Former partners, officers, directors and shareholders
None
       a. If the debtor is a partnership, list each member who withdrew from the partnership within ONE YEAR immediately preceding the
       commencement of this case.

        NAME AND ADDRESS                                                DATE OF WITHDRAWAL
        None
                                Case:15-03757-jwb                   Doc #:1 Filed: 06/30/15                      Page 41 of 53
B7 (Official Form 7) (04/13)                    UNITED STATES BANKRUPTCY COURT
                                                   WESTERN DISTRICT OF MICHIGAN
                                                       GRAND RAPIDS DIVISION
   In re:   Wesley Howard Magnan                                                                      Case No.
            Sandra Christine Magnan                                                                                           (if known)



                                                  STATEMENT OF FINANCIAL AFFAIRS
                                                                    Continuation Sheet No. 7


None
       b. If the debtor is a corporation, list all officers or directors whose relationship with the corporation terminated within ONE YEAR immediately
       preceding the commencement of this case.

        NAME, ADDRESS AND TITLE                                         DATE OF TERMINATION
        None

       23. Withdrawals from a partnership or distributions by a corporation
None
       If the debtor is a partnership or corporation, list all withdrawals or distributions credited or given to an insider, including compensation in any form,
       bonuses, loans, stock redemptions, options exercised and any other perquisite during ONE YEAR immediately preceding the commencement of
       this case.

                                                                                                                  AMOUNT OF MONEY OR
        NAME AND ADDRESS OF RECIPIENT,                                  DATE AND PURPOSE                          DESCRIPTION AND VALUE
        RELATIONSHIP TO DEBTOR                                          OF WITHDRAWAL                             OF PROPERTY
        None

       24. Tax Consolidation Group
None
       If the debtor is a corporation, list the name and federal taxpayer-identification number of the parent corporation of any consolidated group for tax
       purposes of which the debtor has been a member at any time within SIX YEARS immediately preceding the commencement of the case.


        NAME OF PARENT CORPORATION                                      TAXPAYER-IDENTIFICATION NUMBER (EIN)

        None

       25. Pension Funds
None
       If the debtor is not an individual, list the name and federal taxpayer-identification number of any pension fund to which the debtor, as an employer,
       has been responsible for contributing at any time within SIX YEARS immediately preceding the commencement of the case.


        NAME OF PENSION FUND                                            TAXPAYER-IDENTIFICATION NUMBER (EIN)

        None

[If completed by an individual or individual and spouse]
I declare under penalty of perjury that I have read the answers contained in the foregoing statement of financial affairs and any
attachments thereto and that they are true and correct.

Date 6/19/2015                                                          Signature          /s/ Wesley Howard Magnan
                                                                        of Debtor          Wesley Howard Magnan

Date 6/19/2015                                                          Signature       /s/ Sandra Christine Magnan
                                                                        of Joint Debtor Sandra Christine Magnan
                                                                        (if any)
Penalty for making a false statement: Fine of up to $500,000 or imprisonment for up to 5 years, or both.
18 U.S.C. §§ 152 and 3571
                                 Case:15-03757-jwb                Doc #:1 Filed: 06/30/15              Page 42 of 53
  B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF MICHIGAN
                                                     GRAND RAPIDS DIVISION
  IN RE:     Wesley Howard Magnan                                                          CASE NO
             Sandra Christine Magnan
                                                                                           CHAPTER       7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION

PART A -- Debts secured by property of the estate. (Part A must be fully completed for EACH debt which is secured by property of the
estate. Attach additional pages if necessary.)


 Property No.   1

 Creditor's Name:                                                               Describe Property Securing Debt:
 Fifth Third Bank                                                               8062 Meade, Montague, MI 49437
 5050 Kingsley Dr.
 Cincinnati, OH 45263
 xxx8141




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


 Property No.   2

 Creditor's Name:                                                               Describe Property Securing Debt:
 Fifth Third Bank                                                               8062 Meade, Montague, MI 49437
 P.O. Box 740778
 Cincinnati, OH 45274-0778
 xxxxxxx0452




 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt
                                 Case:15-03757-jwb                Doc #:1 Filed: 06/30/15               Page 43 of 53
  B 8 (Official Form 8) (12/08)

                                                UNITED STATES BANKRUPTCY COURT
                                                 WESTERN DISTRICT OF MICHIGAN
                                                     GRAND RAPIDS DIVISION
  IN RE:     Wesley Howard Magnan                                                           CASE NO
             Sandra Christine Magnan
                                                                                            CHAPTER        7

                       CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                               Continuation Sheet No. 1


 Property No.   3

 Creditor's Name:                                                                Describe Property Securing Debt:
 Honor State Bank                                                                13887 Gears Rd., Bear Lake, MI 49614
 2254 Henry St.
 PO Box 67
 Honor, MI 49640-0067
 xxx2293



 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


 Property No.   4

 Creditor's Name:                                                                Describe Property Securing Debt:
 Honor State Bank                                                                Tractor 1984 Zetor 5211
 2254 Henry St.
 PO Box 67
 Honor, MI 49640-0067
 xxxxxxxxx



 Property will be (check one):
         Surrendered                 Retained

 If retaining the property, I intend to (check at least one):
           Redeem the property
           Reaffirm the debt
           Other. Explain (for example, avoid lien using 11 U.S.C. § 522(f)):




 Property is (check one):
         Claimed as exempt              Not claimed as exempt


PART B -- Personal property subject to unexpired leases. (All three columns of Part B must be completed for each unexpired lease.
Attach additional pages if necessary.)
                              Case:15-03757-jwb        Doc #:1 Filed: 06/30/15                 Page 44 of 53
  B 8 (Official Form 8) (12/08)

                                       UNITED STATES BANKRUPTCY COURT
                                        WESTERN DISTRICT OF MICHIGAN
                                            GRAND RAPIDS DIVISION
  IN RE:    Wesley Howard Magnan                                                   CASE NO
            Sandra Christine Magnan
                                                                                   CHAPTER      7

                      CHAPTER 7 INDIVIDUAL DEBTOR'S STATEMENT OF INTENTION
                                                     Continuation Sheet No. 2


 Property No.     1
 Lessor's Name:                                     Describe Leased Property:                       Lease will be Assumed pursuant to
 Amber Aumiller                                     Joint debtor is landlord: hold over             11 U.S.C. § 365(p)(2):
 8062 Meade Street                                  tenancy created following the expiration
 Montague, MI 49437                                 of written lease from December 1, 2012          YES              NO
                                                    to November 30, 2013.




I declare under penalty of perjury that the above indicates my intention as to any property of my estate securing a debt and/or
personal property subject to an unexpired lease.



Date 6/19/2015                                            Signature    /s/ Wesley Howard Magnan
                                                                      Wesley Howard Magnan




Date 6/19/2015                                            Signature    /s/ Sandra Christine Magnan
                                                                      Sandra Christine Magnan
                          Case:15-03757-jwb             Doc #:1 Filed: 06/30/15                   Page 45 of 53
B 201B (Form 201B) (12/09)              UNITED STATES BANKRUPTCY COURT
                                         WESTERN DISTRICT OF MICHIGAN
                                             GRAND RAPIDS DIVISION
In re Wesley Howard Magnan                                                                Case No.
      Sandra Christine Magnan
                                                                                          Chapter             7



                             CERTIFICATION OF NOTICE TO CONSUMER DEBTOR(S)
                                 UNDER § 342(b) OF THE BANKRUPTCY CODE

                                                  Certification of the Debtor
I (We), the debtor(s), affirm that I (we) have received and read the attached notice, as required by § 342(b) of the Bankruptcy Code.

Wesley Howard Magnan                                                X    /s/ Wesley Howard Magnan                          6/19/2015
Sandra Christine Magnan                                                 Signature of Debtor                                Date
Printed Name(s) of Debtor(s)
                                                                    X    /s/ Sandra Christine Magnan                       6/19/2015
Case No. (if known)                                                     Signature of Joint Debtor (if any)                 Date

                          Certificate of Compliance with § 342(b) of the Bankruptcy Code
I,              Dean E. Sheldon III                 , counsel for Debtor(s), hereby certify that I delivered to the Debtor(s) the Notice
required by § 342(b) of the Bankruptcy Code.

/s/ Dean E. Sheldon III
Dean E. Sheldon III, Attorney for Debtor(s)
Bar No.: P58967
Law Office of Dean E. Sheldon III
1378 Gold Court
Traverse City, MI 49696-9325
Phone: (231) 932-9388
Fax: (866) 921-3317
E-Mail: deanesheldoniii@gmail.com




Instructions: Attach a copy of Form B 201A, Notice to Consumer Debtor(s) Under § 342(b) of the Bankruptcy Code.
Use this form to certify that the debtor has received the notice required by 11 U.S.C. § 342(b) ONLY if the certification has NOT
been made on the Voluntary Petition, Official Form B1. Exhibit B on page 2 of Form B1 contains a certification by the debtor's
attorney that the attorney has given the notice to the debtor. The Declarations made by debtors and bankruptcy petition
preparers on page 3 of Form B1 also include this certification.
                         Case:15-03757-jwb                Doc #:1 Filed: 06/30/15                  Page 46 of 53
FB 201A (Form 201A) (6/14)


                                          UNITED STATES BANKRUPTCY COURT

                             NOTICE TO CONSUMER DEBTOR(S) UNDER § 342(b)
                                      OF THE BANKRUPTCY CODE
In accordance with § 342(b) of the Bankruptcy Code, this notice to individuals with primarily consumer debts: (1) Describes
briefly the services available from credit counseling services; (2) Describes briefly the purposes, benefits and costs of the four
types of bankruptcy proceedings you may commence; and (3) Informs you about bankruptcy crimes and notifies you that the
Attorney General may examine all information you supply in connection with a bankruptcy case.

You are cautioned that bankruptcy law is complicated and not easily described. Thus, you may wish to seek the advice of an
attorney to learn of your rights and responsibilities should you decide to file a petition. Court employees cannot give you legal
advice.

Notices from the bankruptcy court are sent to the mailing address you list on your bankruptcy petition. In order to ensure that you
receive information about events concerning your case, Bankruptcy Rule 4002 requires that you notify the court of any changes in
your address. If you are filing a JOINT CASE (a single bankruptcy case for two individuals married to each other), and each
spouse lists the same mailing address on the bankruptcy petition, you and your spouse will generally receive a single copy of
each notice mailed from the bankruptcy court in a jointly-addressed envelope, unless you file a statement with the court
requesting that each spouse receive a separate copy of all notices.

1. Services Available from Credit Counseling Agencies
With limited exceptions, § 109(h) of the Bankruptcy Code requires that all individual debtors who file for bankruptcy
relief on or after October 17, 2005, receive a briefing that outlines the available opportunities for credit counseling
and provides assistance in performing a budget analysis. The briefing must be given within 180 days BEFORE the
bankruptcy filing. The briefing may be provided individually or in a group (including briefings conducted by telephone or on the
Internet) and must be provided by a nonprofit budget and credit counseling agency approved by the United States trustee or
bankruptcy administrator. The clerk of the bankruptcy court has a list that you may consult of the approved budget and credit
counseling agencies. Each debtor in a joint case must complete the briefing.

In addition, after filing a bankruptcy case, an individual debtor generally must complete a financial management
instructional course before he or she can receive a discharge. The clerk also has a list of approved financial management
instructional courses. Each debtor in a joint case must complete the course.

2. The Four Chapters of the Bankruptcy Code Available to Individual Consumer Debtors

Chapter 7:     Liquidation ($245 filing fee, $75 administrative fee, $15 trustee surcharge: Total fee $335)
Chapter 7 is designed for debtors in financial difficulty who do not have the ability to pay their existing debts. Debtors whose
debts are primarily consumer debts are subject to a "means test" designed to determine whether the case should be permitted
to proceed under chapter 7. If your income is greater than the median income for your state of residence and family size, in
some cases, the United States trustee (or bankruptcy administrator), the trustee, or creditors have the right to file a motion
requesting that the court dismiss your case under § 707(b) of the Code. It is up to the court to decide whether the case should
be dismissed.

Under chapter 7, you may claim certain of your property as exempt under governing law. A trustee may have the right to take
possession of and sell the remaining property that is not exempt and use the sale proceeds to pay your creditors.

The purpose of filing a chapter 7 case is to obtain a discharge of your existing debts. If, however, you are found to have
committed certain kinds of improper conduct described in the Bankruptcy Code, the court may deny your discharge and, if it
does, the purpose for which you filed the bankruptcy petition will be defeated.

Even if you receive a general discharge, some particular debts are not discharged under the law. Therefore, you may still be
responsible for most taxes and student loans; debts incurred to pay nondischargeable taxes; domestic support and property
settlement obligations; most fines, penalties, forfeitures, and criminal restitution obligations; certain debts which are not
properly listed in your bankruptcy papers; and debts for death or personal injury caused by operating a motor vehicle, vessel, or
aircraft while intoxicated from alcohol or drugs. Also, if a creditor can prove that a debt arose from fraud, breach of fiduciary duty,
or theft, or from a willful and malicious injury, the bankruptcy court may determine that the debt is not discharged.

Chapter 13: Repayment of All or Part of the Debts of an Individual with Regular Income
($235 filing fee, $75 administrative fee: Total fee $310)
Chapter 13 is designed for individuals with regular income who would like to pay all or part of their debts in installments over a
period of time. You are only eligible for chapter 13 if your debts do not exceed certain dollar amounts set forth in the Bankruptcy
Code.
                         Case:15-03757-jwb                Doc #:1 Filed: 06/30/15                  Page 47 of 53
Form B 201A, Notice to Consumer Debtor(s)                                                                                             Page 2

Under chapter 13, you must file with the court a plan to repay your creditors all or part of the money that you owe them, using your
future earnings. The period allowed by the court to repay your debts may be three years or five years, depending upon your
income and other factors. The court must approve your plan before it can take effect.

After completing the payments under your plan, your debts are generally discharged except for domestic support obligations;
most student loans; certain taxes; most criminal fines and restitution obligations; certain debts which are not properly listed in
your bankruptcy papers; certain debts for acts that caused death or personal injury; and certain long term secured obligations.

Chapter 11: Reorganization ($1167 filing fee, $550 administrative fee: Total fee $1717)
Chapter 11 is designed for the reorganization of a business but is also available to consumer debtors. Its provisions are quite
complicated, and any decision by an individual to file a chapter 11 petition should be reviewed with an attorney.

Chapter 12: Family Farmer or Fisherman               ($200 filing fee, $75 administrative fee: Total fee $275)
Chapter 12 is designed to permit family farmers and fishermen to repay their debts over a period of time from future earnings
and is similar to chapter 13. The eligibility requirements are restrictive, limiting its use to those whose income arises primarily
from a family-owned farm or commercial fishing operation.

3. Bankruptcy Crimes and Availability of Bankruptcy Papers to Law Enforcement Officials
A person who knowingly and fraudulently conceals assets or makes a false oath or statement under penalty of perjury, either
orally or in writing, in connection with a bankruptcy case is subject to a fine, imprisonment, or both. All information supplied by a
debtor in connection with a bankruptcy case is subject to examination by the Attorney General acting through the Office of the
United States Trustee, the Office of the United States Attorney, and other components and employees of the Department of
Justice.

WARNING: Section 521(a)(1) of the Bankruptcy Code requires that you promptly file detailed information regarding your creditors,
assets, liabilities, income, expenses and general financial condition. Your bankruptcy case may be dismissed if this
information is not filed with the court within the time deadlines set by the Bankruptcy Code, the Bankruptcy Rules, and the local
rules of the court. The documents and the deadlines for filing them are listed on Form B200, which is posted at
http://www.uscourts.gov/bkforms/bankruptcy_forms.html#procedure.
                            Case:15-03757-jwb                  Doc #:1 Filed: 06/30/15             Page 48 of 53
                                           UNITED STATES BANKRUPTCY COURT
                                            WESTERN DISTRICT OF MICHIGAN
                                                GRAND RAPIDS DIVISION
IN RE:     Wesley Howard Magnan                                                           CASE NO
           Sandra Christine Magnan
                                                                                         CHAPTER         7

                     DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR
1. Pursuant to 11 U.S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above-named debtor(s) and
   that compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for
   services rendered or to be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case
   is as follows:

     For legal services, I have agreed to accept:                                                   $1,535.00
     Prior to the filing of this statement I have received:                                         $1,535.00
     Balance Due:                                                                                            $0.00

2. The source of the compensation paid to me was:
                  Debtor                       Other (specify)

3. The source of compensation to be paid to me is:
                  Debtor                       Other (specify)

4.       I have not agreed to share the above-disclosed compensation with any other person unless they are members and
         associates of my law firm.

         I have agreed to share the above-disclosed compensation with another person or persons who are not members or
         associates of my law firm. A copy of the agreement, together with a list of the names of the people sharing in the
         compensation, is attached.


5. In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:
   a. Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in
   bankruptcy;
   b. Preparation and filing of any petition, schedules, statements of affairs and plan which may be required;
   c. Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;

6. By agreement with the debtor(s), the above-disclosed fee does not include the following services:


                                                             CERTIFICATION
        I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for
     representation of the debtor(s) in this bankruptcy proceeding.


                       6/19/2015                              /s/ Dean E. Sheldon III
                         Date                                 Dean E. Sheldon III                        Bar No. P58967
                                                              Law Office of Dean E. Sheldon III
                                                              1378 Gold Court
                                                              Traverse City, MI 49696-9325
                                                              Phone: (231) 932-9388 / Fax: (866) 921-3317




      /s/ Wesley Howard Magnan                                             /s/ Sandra Christine Magnan
     Wesley Howard Magnan                                                 Sandra Christine Magnan
                         Case:15-03757-jwb             Doc #:1 Filed: 06/30/15                 Page 49 of 53
                                      UNITED STATES BANKRUPTCY COURT
                                       WESTERN DISTRICT OF MICHIGAN
                                           GRAND RAPIDS DIVISION
  IN RE:   Wesley Howard Magnan                                                    CASE NO
           Sandra Christine Magnan
                                                                                  CHAPTER        7

                                     VERIFICATION OF CREDITOR MATRIX


      The above named Debtor hereby verifies that the attached list of creditors is true and correct to the best of his/her
knowledge.




Date 6/19/2015                                           Signature    /s/ Wesley Howard Magnan
                                                                     Wesley Howard Magnan



Date 6/19/2015                                           Signature    /s/ Sandra Christine Magnan
                                                                     Sandra Christine Magnan
                             Case:15-03757-jwb                Doc #:1 Filed: 06/30/15                    Page 50 of 53
 Fill in this information to identify your case:                                             Check one box only as directed in this
                                                                                             form and in Form 22A-1Supp:
 Debtor 1             Wesley             Howard                Magnan
                      First Name         Middle Name           Last Name                        1. There is no presumption of abuse.

 Debtor 2            Sandra              Christine             Magnan                           2. The calculation to determine if a presumption
 (Spouse, if filing) First Name          Middle Name           Last Name                           of abuse applies will be made under Chapter 7
                                                                                                   Means Test Calculation (Official Form 22A-2).
 United States Bankruptcy Court for the: WESTERN DISTRICT OF MICHIGAN
                                                                                                3. The Means Test does not apply now because
 Case number                                                                                       of qualified military service but it could apply
 (if known)                                                                                        later.

                                                                                                 Check if this is an amended filing

Official Form 22A-1
Chapter 7 Statement of Your Current Monthly Income                                                                                            12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being
accurate. If more space is needed, attach a separate sheet to this form. Include the line number to which the additional
information applies. On top of any additional pages, write your name and case number (if known). If you believe that you are
exempted from a presumption of abuse because you do not have primarily consumer debts or because of qualifying military
service, complete and file the Statement of Exemption from Presumption of Abuse Under § 707(b)(2) (Official Form 22A-1Supp)
with this form.


 Part 1:       Calculate Your Current Monthly Income

1.   What is your marital and filing status? Check one only.

          Not married. Fill out Column A, lines 2-11.

          Married and your spouse is filing with you. Fill out both Columns A and B, lines 2-11.

          Married and your spouse is NOT filing with you. You and your spouse are:

               Living in the same household and are not legally separated. Fill out both Columns A and B, lines 2-11.

               Living separately or are legally separated. Fill out Column A, lines 2-11; do not fill out Column B. By checking this box, you
               declare under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you
               and your spouse are living apart for reasons that do not include evading the Means Test requirements. 11 U.S.C. § 707(b)(7)(B).


     Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
     bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
     August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill
     in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
     income from that property in one column only. If you have nothing to report for any line, write $0 in the space.


                                                                                            Column A         Column B
                                                                                            Debtor 1         Debtor 2 or
                                                                                                             non-filing spouse

2.   Your gross wages, salary, tips, bonuses, overtime, and commissions                        $373.89            $2,165.71
     (before all payroll deductions).

3.   Alimony and maintenance payments. Do not include payments from a spouse                       $0.00               $0.00
     if Column B is filled in.

4.   All amounts from any source which are regularly paid for household                            $0.00               $0.00
     expenses of you or your dependents, including child support. Include
     regular contributions from an unmarried partner, members of your household,
     your dependents, parents, and roommates. Include regular contributions from
     a spouse only if Column B is not filled in. Do not include payments you listed
     on line 3.




Official Form 22A-1                          Chapter 7 Statement of Your Current Monthly Income                                               page 1
                                     Case:15-03757-jwb                                     Doc #:1 Filed: 06/30/15                                     Page 51 of 53
Debtor 1        Wesley                            Howard                           Magnan                                           Case number (if known)
                First Name                        Middle Name                      Last Name


                                                                                                                                         Column A          Column B
                                                                                                                                         Debtor 1          Debtor 2 or
                                                                                                                                                           non-filing spouse

5.   Net income from operating a business, profession, or farm

     Gross receipts (before all deductions)                                                           $517.25

     Ordinary and necessary operating expenses                                           –        $1,112.00
                                                                                                                       Copy
     Net monthly income from a business, profession, or farm                                       ($594.75) here                              ($594.75)            $0.00


6.   Net income from rental and other real property

     Gross receipts (before all deductions)                                                           $924.50

     Ordinary and necessary operating expenses                                           –        $1,181.91
                                                                                                                       Copy
     Net monthly income from rental or other real property                                         ($257.41) here                              ($257.41)            $0.00


7.   Interest, dividends, and royalties                                                                                                           $0.00             $0.00
8.   Unemployment compensation                                                                                                                    $0.00             $0.00
     Do not enter the amount if you contend that the amount received was a
     benefit under the Social Security Act. Instead, list it here: ...............................................

                                                                                                              $0.00
         For you............................................................................................................................

                                                                                                         $0.00
         For your spouse..............................................................................................................

9.   Pension or retirement income. Do not include any amount received that                                                                        $0.00             $0.00
     was a benefit under the Social Security Act.

10. Income from all other sources not listed above. Specify the source and
    amount. Do not include any benefits received under the Social Security Act
    or payments received as a victim of a war crime, a crime against humanity,
    or international or domestic terrorism. If necessary, list other sources on a
    separate page and put the total on line 10c.

         10a.

         10b.

         10c. Total amounts from separate pages, if any.                                                                          +                        +
11. Calculate your total current monthly income.
    Add lines 2 through 10 for each column.                                                                                                    ($478.27)   +   $2,165.71    =        $1,687.44
    Then add the total for Column A to the total for Column B.
                                                                                                                                                                               Total current
                                                                                                                                                                               monthly income

 Part 2:           Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:

     12a.                                                                                                                                                                        $1,687.44
              Copy your total current monthly income from line 11....................................................................................................................
                                                                                                                         Copy line 11 here                       12a.

              Multiply by 12 (the number of months in a year).                                                                                                                  X      12

     12b.     The result is your annual income for this part of the form.                                                                                               12b.        $20,249.28




Official Form 22A-1                                              Chapter 7 Statement of Your Current Monthly Income                                                                      page 2
                                 Case:15-03757-jwb                             Doc #:1 Filed: 06/30/15                                 Page 52 of 53
Debtor 1       Wesley                      Howard                       Magnan                                    Case number (if known)
               First Name                  Middle Name                  Last Name


13. Calculate the median family income that applies to you. Follow these steps:

    Fill in the state in which you live.                                            Michigan

    Fill in the number of people in your household.                                        5

                                                                                                                                                                       $85,965.00
    Fill in the median family income for your state and size of household......................................................................................................................
                                                                                                                                                          13.
    To find a list of applicable median income amounts, go online using the link specified in the separate
    instructions for this form. This list may also be available at the bankruptcy clerk's office.


14. How do the lines compare?

    14a.           Line 12b is less than or equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
                   Go to Part 3.
    14b.           Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 22A-2.
                   Go to Part 3 and fill out Form 22A-2.


 Part 3:         Sign Below

      By signing here, I declare under penalty of perjury that the information on this statement and in any attachments is true and correct.


      X     /s/ Wesley Howard Magnan                                                                X      /s/ Sandra Christine Magnan
            Wesley Howard Magnan                                                                           Sandra Christine Magnan

           Date 6/19/2015                                                                                Date 6/19/2015
                MM / DD / YYYY                                                                                MM / DD / YYYY

      If you checked line 14a, do NOT fill out or file Form 22A-2.

      If you checked line 14b, fill out Form 22A-2 and file it with this form.




Official Form 22A-1                                     Chapter 7 Statement of Your Current Monthly Income                                                                           page 3
                         Case:15-03757-jwb               Doc #:1 Filed: 06/30/15                 Page 53 of 53
                                      Current Monthly Income Calculation Details
In re: Wesley Howard Magnan                                             Case Number:
       Sandra Christine Magnan                                          Chapter:     7

2.    Gross wages, salary, tips, bonuses, overtime and commissions.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Debtor                                     Substitute Teacher
                                               $276.31     $387.87          $286.28       $664.92       $332.46    $295.52     $373.89

Spouse                                     Elementary School Teacher
                                              $2,164.62  $2,164.62   $2,164.62          $2,168.90     $2,182.25   $2,149.27   $2,165.71

5.    Net income from operating a business, profession or farm.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Debtor                                     Magnan Enterprises LLC
Gross receipts                                 $517.25     $517.25          $517.25       $517.25       $517.25     $517.25     $517.25
Ordinary/necessary business expenses         $1,112.00  $1,112.00         $1,112.00     $1,112.00     $1,112.00   $1,112.00   $1,112.00
Business income                              ($594.75)   ($594.75)        ($594.75)     ($594.75)     ($594.75)   ($594.75)   ($594.75)

6.    Net income from rental and other real property.

 Debtor or Spouse's Income                 Description (if available)
                                                6             5             4             3             2          Last       Avg.
                                              Months        Months        Months        Months        Months      Month        Per
                                               Ago           Ago           Ago           Ago           Ago                    Month

Debtor                                Rental Income
Gross receipts                            $924.50     $924.50               $924.50       $924.50       $924.50     $924.50     $924.50
Ordinary/necessary operating expenses   $1,181.91   $1,181.91             $1,181.91     $1,181.91     $1,181.91   $1,181.91   $1,181.91
Rental income                           ($257.41)   ($257.41)             ($257.41)     ($257.41)     ($257.41)   ($257.41)   ($257.41)




Computer software provided by LegalPRO Systems, Inc., San Antonio, Texas (210) 561-5300, Copyright 1996-2015
